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                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK



STEPHEN J. BURDEN and JACQUELINE S. Case No.
BURDEN, Derivatively on Behalf of General
Electric Company,
                                           VERIFIED SHAREHOLDER
                                           DERIVATIVE COMPLAINT
                      Plaintiffs,

v.

SEBASTIEN M. BAZIN, W. GEOFFREY
BEATTIE, JEFFREY S. BORNSTEIN, JOHN J.
BRENNAN, JAMES I. CASH, JR., H.
LAWRENCE CULP, MARIJN E. DEKKERS,
FRANCISCO D’SOUZA, JOHN L. FLANNERY,
EDWARD P. GARDEN, JAN R. HAUSER,
PETER B. HENRY, SUSAN J. HOCKFIELD,
THOMAS W. HORTON, JEFFREY R. IMMELT,
ANDREA JUNG, ROBERT W. LANE, RISA
LAVIZZO-MOUREY, RICHARD A. LAXER,
ROCHELLE B. LAZARUS, CATHERINE
LESJAK, LOWELL C. MCADAM, JAMIE S.
MILLER, STEVEN M. MOLLENKOPF, JAMES
J. MULVA, PAULA ROSPUT REYNOLDS,
JAMES E. ROHR, MARY L. SCHAPIRO,
LESLIE SEIDMAN, KEITH S. SHERIN,
ROBERT J. SWIERINGA, JAMES S. TISCH,
DOUGLAS A. WARNER III, and ASHTON
CARTER,

                      Defendants

          -and-

GENERAL ELETRIC COMPANY, a New York
corporation,
              Nominal Defendant
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       Plaintiffs Stephen J. Burden and Jacqueline S. Burden (“Plaintiffs”), by and through their

undersigned counsel, bring this shareholder derivative action in the name and on behalf of nominal

defendant General Electric Company (“GE” or the “Company”) against defendants Sébastien M.

Bazin, W. Geoffrey Beattie, Jeffrey S. Bornstein, John J. Brennan, James I. Cash, Jr., H. Lawrence

Culp, Marijn E. Dekkers, Francisco D’Souza, John L. Flannery, Edward P. Garden, Jan R. Hauser,

Peter B. Henry, Susan J. Hockfield, Thomas W. Horton, Jeffrey R. Immelt, Andrea Jung, Robert

W. Lane, Risa Lavizzo-Mourey, Richard A. Laxer, Rochelle B. Lazarus, Catherine Lesjak, Lowell

C. McAdam, Jamie S. Miller, Steven M. Mollenkopf, James J. Mulva, Paula Rosput Reynolds,

James E. Rohr, Mary L. Schapiro, Leslie Seidman, Keith S. Sherin, Robert J. Swieringa, James S.

Tisch, Douglas A. Warner III, and Ashton Carter (collectively, the “Individual Defendants,” and,

together with GE, the “Defendants”) for breaches of fiduciary duty, unjust enrichment, violations

of Section 14(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), and other violations

of law.1

       Plaintiffs base their allegations on personal knowledge as to their own acts, and on

information and belief as to all other allegations, based upon due investigation by counsel,



1
       Bornstein, Flannery, Hauser, Immelt, Laxer, Miller, and Sherin are referred to herein as the
“Executive Defendants” and the remaining Individual Defendants are referred to herein as the
“Board Members.” Bazin, Beattie, Brennan, Cash, Culp, Dekkers, D’Souza, Flannery, Garden,
Henry, Hockfield, Horton, Immelt, Jung, Lane, Lavizzo-Mourey, Lazarus, McAdam, Mollenkopf,
Mulva, Reynolds, Rohr, Schapiro, Seidman, Sherin, Swieringa, Tisch, and Warner are referred to
herein as the “Waste Defendants.” Bazin, Beattie, Bornstein, Brennan, Cash, Culp, Dekkers,
D’Souza, Flannery, Garden, Henry, Hockfield, Horton, Immelt, Jung, Lane, Lavizzo-Mourey,
Lazarus, McAdam, Miller, Mollenkopf, Mulva, Reynolds, Rohr, Schapiro, Seidman, Sherin,
Swieringa, Tisch, and Warner are referred to herein as the “Unjust Enrichment Defendants.”
Schapiro, Beattie, Henry, Mulva, Rohr, Brennan, Seidman, Lavizzo-Mourey, Horton, Reynolds,
Culp, Bazin, Carter, D’Souza, Garden, Lesjak, and Tisch are referred to herein as the “Demand
Defendants.” Flannery, Bazin, Beattie, Brennan, D’Souza, Dekkers, Garden, Henry, Hockfield,
Jung, Lavizzo-Mourey, Lazarus, Mollenkopf, Mulva, Rohr, Schapiro, Tisch, Miller, Immelt, and
Bornstein are referred to herein as the “Exchange Act Defendants.”


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including, but not limited to: (a) review and analysis of public filings made by GE and other

persons with the United States Securities and Exchange Commission (“SEC”); (b) review and

analysis of press releases, financial statements, and other publications caused to be disseminated

by certain of the Defendants and other persons; (c) review and analysis of news articles,

shareholder communications, and postings on GE’s website concerning the Company’s public

statements; (d) review and analysis of court filings in the related consolidated securities class

action lawsuit alleging violations of federal securities law based on similar facts and circumstances

alleged herein, styled Ap-Fonden v. General Electric Company, Case No. 1:17-cv-8457-JMF

(S.D.N.Y.) (the “Securities Class Action”);2 and (e) review and analysis of other publicly available

information concerning GE, the Individual Defendants, and other persons.

                             INTRODUCTION AND OVERVIEW

       1.       This is a verified shareholder derivative action brought by Plaintiffs, shareholders

of GE, on behalf of the Company and its shareholders, against certain current and former officers

and directors of GE to remedy, inter alia, the massive mismanagement of the Company, breaches

of fiduciary duty, including the duty of loyalty and unjust enrichment, waste of the Company’s

assets, violations of Section 14(a) of the Exchange Act, and deliberate concealment of such

wrongful conduct during the period from approximately February 26, 2013 through the present

(the “Relevant Period”).

       2.       As described in more detail below, certain of the Individual Defendants engaged in

a fraudulent scheme and course of conduct designed to hide the truth about the Company’s



2
        The allegations from the Fifth Amended Consolidated Class Action Complaint for
Violations of the Federal Securities Laws filed in the Securities Class Action on October 25, 2019
(the “Securities Action Complaint”), which is attached hereto as Exhibit 1, are hereby incorporated
into this Complaint.


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financial health and growth prospects, by causing the Company to omit the truth about its division

GE Capital Global Holdings, LLC’s (“GE Capital”) exposure under its long term care (“LTC”)

insurance policies, and by causing the Company to create an illusory revenue recognition scheme

in order to meet its earnings targets by manipulating the value of the contract assets of GE Power,

a wholly-owned subsidiary of GE.

        3.       Traditionally, many investors’ reason for owning GE common stock has been its

consistent and reliable stream of quarterly dividends and ability to fund its stock buyback program.

Throughout its history prior to the Relevant Period, GE almost always managed to maintain

sufficient cash flow to meet its quarterly dividend payments. The majority of these dividends and

buyback funds are funded by flow-through dividend payments from GE Capital, which is the

business segment of GE that provides commercial lending and leasing and other financial products,

and cash from GE’s industrial operations, principally from GE Power, which builds products and

technologies to produce electric power for the energy industry.

        4.       Between the late 1980s and early 2000s, GE Capital underwrote and reinsured LTC

insurance policies to insure costs associated with assisted living, specialized skilled care facilities,

and other related expenses. Pricing assumptions of such policies fluctuate around the cost of

healthcare, life expectancy, and interest rates. Despite significant changes in the average American

life expectancy in the mid-2000’s that affected these pricing assumptions, and despite the long

history of insurance companies facing substantial losses relating to their LTC policies of which

the Individual Defendants were undoubtedly aware (including, most notably, GE’s own former

subsidiary Genworth Financial Inc. (“Genworth”)), the Individual Defendants failed to disclose

these known LTC-related trends, uncertainties, and commitments that were likely to have a

significant negative impact on GE’s financial condition in the Company’s SEC filings. Further,




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the Individual Defendants failed to update reserve assumptions for the LTC policies and even

falsely created an impression that GE had sold its insurance business, by excluding its remaining

LTC liabilities from SEC filings.

           5.       Another segment upon which GE’s cash flow needs relied was GE Power – GE’s

largest industrial segment and a key profitability indicator of the Company. GE Power’s core

business operation is building large-scale power generation facilities along with providing

maintenance services with long-term service agreements (“LTSAs”) to these facilities.

           6.       During the Relevant Period, similar to problems experienced by GE Capital, GE

Power was also facing a global downturn in the power industries. GE was reporting LTSAs as

contract assets and generating a non-cash revenue; in other words, it was recognizing revenues

under the LTSAs before the actual billing of the customers or receipt of any payment. In order to

increase revenues and meet its earnings targets, GE heavily relied upon cumulative catch-up

adjustments, which enabled GE to record adjustments to reflect purported changes in the estimated

profitability of its LTSAs. Essentially, the Individual Defendants utilized the long-term nature of

the LTSAs to artificially inflate GE Power’s contract assets and therefore inflated its revenues and

profits.

           7.       Further, upon announcement of new accounting rules in May 2014, GE Power

began factoring – or selling – its LTSA receivables to GE Capital in order to conceal its growing

cash flow problems. By utilizing this strategy, the Individual Defendants were able to prevent

investors from noticing the gap between GE Power’s reported revenue and its Industrial Cash Flow

from Operating Activities (“ICFOA”), which is a measurement of cash that is actually received

for services provided.

           8.       Defendants’ fraud began to unravel in early 2017, as the partial truth regarding




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GE’s cash flow issues, mismanagement of its LTC reserves, and GE Power’s earnings issues

emerged. Through a series of disclosures in mid-2017 through early 2018, GE shocked the market

by revealing massive ICFOA declines and billions of dollars in unexpected LTC exposures, and

cut its annual dividend for the first time since the Great Depression by 50% on November 13,

2017. Then, in January 2018, the Company announced that GE Capital would be required to

allocate $15 billion for its LTC reserves for seven years and would be suspending its dividend to

GE for the “foreseeable future.”

       9.       The following month, GE disclosed that the SEC had been investigating GE’s

revenue recognition practices and internal controls over financial reporting relating to LTSAs since

November 2017, and that it had recently widened its investigation to include the LTC reserve

increase that GE had announced in January 2018. The Company also disclosed later that the

Department of Justice (“DOJ”) was (and apparently still is) investigating these issues.

       10.      In June 2018, because of the massive drops in GE’s stock price, GE was kicked out

of the elite Dow Jones Industrial Average (“DJIA”), of which it had been a member since its

inception in 1907.

       11.      Then, on October 1, 2018, the Company announced a shocking $23 billion non-

cash goodwill impairment charge for the Power business – essentially wiping out the entire balance

of GE Power’s goodwill balance – and slashed its quarterly dividend to just a penny. That same

day, GE abruptly removed Defendant Flannery as Chairman and Chief Executive Officer (“CEO”)

– after only a little more than a year on the job – and installed Defendant Culp as his successor.

Following this news, the SEC expanded the scope of its investigation to encompass the expected

goodwill impairment charge related to GE Power.

       12.      The executive departures continued, with GE suddenly announcing on July 31,




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2019 that Defendant Miller was resigning as Chief Financial Officer (“CFO”). Miller’s resignation

was followed by serious accusations of accounting fraud within the Company. On August 15,

2019, a bombshell report was released by Harry Markopolos – a former securities industry

executive and a forensic accounting and financial fraud investigator – who concluded that GE’s

accounting fraud was “bigger than Enron and WorldCom combined.”

       13.     As a result of Defendants’ wrongdoing, numerous lawsuits have been filed against

them – including the Securities Class Action currently pending in this court, which alleges that

between February 27, 2013 and January 23, 2018 certain of the Individual Defendants engaged in

a fraudulent scheme and course of conduct designed to hide the truth about the Company’s

financial health and growth prospects in violation of federal securities law – based primarily upon

defendants’ failure to disclose GE’s factoring of LTSAs. Sjunde AP-Fonden v. GE, 417 F. Supp.

3d 379 (S.D.N.Y. 2019). In denying the defendants’ motion to dismiss on August 29, 2019, the

Securities Class Action court specifically found that plaintiffs “hit the mark” by alleging that “GE

failed to disclose that GE Power generated [cash] by ‘monetizing’ receivables through extensive

factoring of LTSAs,” and found a “strong inference” that “GE and at least some of the Individual

Defendants were at least consciously reckless” with respect to their failure to provide adequate

disclosures to investors. Id. at 408-09.

       14.     Most recently, on September 30, 2020, the SEC staff issued a “Wells notice” to GE,

advising that it is considering recommending that the SEC bring a civil injunctive action against

GE for possible violations of securities laws related to “historical premium deficiency testing for

GE Capital’s run-off insurance operations, as well as GE’s disclosures relating to such run-off

insurance operations.” In its 10-Q for the third quarter of 2020, filed on October 28, 2020, the

Company disclosed that it has “recorded a reserve of $100 million as of September 30, 2020”




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related to the SEC investigation.

       15.     Even this extensive reserve would prove woefully inadequate. On December 9,

2020, the SEC released an Order Instituting Cease-and-Desist Proceedings, Pursuant to Section 8a

of the Securities Act of 1933 and Section 21c of the Securities Exchange Act Of 1934, Making

Findings, and Imposing Remedial Sanctions and A Cease-and-Desist Order in In the Matter of

General Electric Company, No. 3-20165 (the “SEC Order”). Pursuant to the SEC Order, the

Company reached a $200 million settlement with the SEC for its alleged disclosure failures within

GE Power and GE Capital.

       16.     As a result of the Individual Defendants’ conscious and willful breaches of their

fiduciary duties and other malfeasance, GE has been damaged. Ultimately, GE has lost over $100

billion in market capitalization, was removed from the DJIA (which it had occupied for over a

century), and numerous executives were fired. GE’s stock price has failed to recover to this day.

Further, GE has expended and will continue to expend significant sums of money, including but

not limited to (i) costs incurred in defending and paying any settlements in the various lawsuits

filed against the Company, (ii) costs incurred from defending and responding to the SEC and DOJ

investigations, including the $200 million payment pursuant to the SEC Order; (iii)

overcompensation of the Individual Defendants, and (iv) costs incurred from lack of proper

funding of GE’s LTC reserves.

       17.     Efforts to avoid liability for this scheme continue through the present, as the

Demand Defendants, including GE’s Board of Directors (the “Board”), have acted in bad faith by

wrongfully refusing Plaintiffs’ November 14, 2018 letter demanding, among other things, that they

institute this litigation (the “Litigation Demand”). Indeed, on December 31, 2020, after nearly two

years and countless updates from Plaintiffs regarding the additional evidence of and ongoing




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damage to GE caused by the Individual Defendants’ wrongdoing, the Demand Defendants finally

responded that they were refusing to undertake any of the actions detailed in the Litigation Demand

purportedly because “the Company has no sound legal basis” to assert such claims and that, “even

if there were a sound legal basis to assert claims, any such litigation would not be in the best

interest of the Company and its stockholders.” The Demand Defendants’ significantly delayed

and perfunctory response is impossible to reconcile with the fact that the Securities Class Action

court has already found such allegations sufficiently plausible to pass muster under heightened

pleading requirements and, just weeks before, the Company paid $200 million to settle similar

claims brought by the SEC. The only possible conclusion is that the Demand Defendants acted in

bad faith and in breach of their fiduciary duties in purporting to investigate and consider the

Litigation Demand, while in fact intending to reject the Litigation Demand from the outset.

       18.     Because the Demand Defendants have wrongfully refused the Litigation Demand,

Plaintiffs now commence this derivative action in order to protect the Company, rectify the wrongs

detailed herein, and hold the wrongdoers accountable for the damages they caused GE.

                                JURISDICTION AND VENUE

       19.     This Court has jurisdiction over the claims asserted herein under 28 U.S.C. § 1332

because Plaintiffs and Defendants are citizens of different states and the amount in controversy

exceeds $75,000, exclusive of interest and costs.

       20.     This Court also has jurisdiction over the claims asserted herein under 28 U.S.C. §

1331 because the claims arise under Section 14(a) of the Exchange Act (15 U.S.C. § 78n(a)) and

Rule 14a-9 promulgated thereunder (17 C.F.R. § 240.14a-9).

       21.     The Court has supplemental jurisdiction over Plaintiffs’ state law claims pursuant

to 28 U.S.C. §§ 1367(a) and (b).




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       22.     This Court has jurisdiction over Defendants because each Defendant named herein

is either a corporation that conducts business in and maintains operations in this District, or is an

individual who has sufficient minimum contacts with this District to render exercise of jurisdiction

by this Court permissible under traditional notions of fair play and substantial justice.

       23.     Venue is proper in this Court in accordance with 28 U.S.C. § 1391 because (i) one

or more of the Defendants either resides in or maintains executive offices in this District, (ii) a

substantial portion of the transactions and wrongs complained of herein, including the Defendants’

primary participation in the wrongful acts detailed herein, and aiding and abetting and conspiracy

in violation of fiduciary duties owed to GE, occurred in this District, and/or (iii) Defendants have

received substantial compensation in this District by doing business here and engaging in

numerous activities that had an effect in this District. Further, GE’s common stock trades on the

New York Stock Exchange, located within this District.

                                          THE PARTIES

       24.     Plaintiffs Stephen J. Burden and Jacqueline S. Burden are current GE shareholders

and have continuously been shareholders since at least June 1, 1983. Plaintiffs are citizens of

Colorado.

       25.     Nominal Defendant GE is a New York corporation maintaining its corporate

headquarters in Boston, Massachusetts, and thus is a citizen of both New York and Massachusetts.

GE is a global conglomerate that operates along various business segments, two of which are

relevant here: (1) GE Capital, which used to be a wholly-owned subsidiary, and is now a division,

of GE that provides commercial lending and leasing and other financial services; and (2) GE

Power, a wholly-owned subsidiary of GE that builds products and technologies to produce electric

power for the energy industry. GE’s common shares trade on the NYSE under the symbol “GE.”




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GE is a defendant in the Securities Class Action.

        26.    Defendant Bazin has been on GE’s Board of Directors since 2016. In exchange for

their purported trust, loyalty, and fidelity to the Company and its shareholders, Bazin received total

compensation in 2016, 2017, and 2018 of $189,254, $309,726, and $306,888, respectively. On

information and belief, Bazin is a citizen of California.

        27.    Defendant Beattie was on GE’s Board of Directors from 2009 to May 2019. In

exchange for their purported trust, loyalty, and fidelity to the Company and its shareholders,

Beattie received total compensation in 2016, 2017, and 2018 of $346,321, $328,828, and $347,930,

respectively. On information and belief, Beattie is a citizen of Massachusetts.

        28.    Defendant Bornstein was appointed Senior Vice President and CFO of GE,

effective July 1, 2013, replacing Defendant Sherin, and served in that role until October 31, 2017.

Bornstein also served as a member of GE Capital’s Board from 2006 through 2015 and as CFO of

GE Capital from 2008 until his elevation to CFO of GE in 2013. In connection with replacing

Immelt with Flannery as GE’s new Chairman and CEO, GE’s Board also appointed Bornstein as

Vice Chairman of GE, effective June 12, 2017. But shortly thereafter, on October 6, 2017, GE

announced that Bornstein’s term as Vice Chairman would abruptly conclude at the end of the year.

Bornstein is a defendant in the Securities Class Action. In exchange for their purported trust,

loyalty, and fidelity to the Company and its shareholders, Bornstein received total compensation

in 2014, 2015, 2016, and 2017 of $10,635,919, $11,497,856, $7,081,503, and $10,835,590

respectively. On information and belief, Bornstein is a citizen of Connecticut.

        29.    Defendant Brennan was on GE’s Board of Directors from 2012 to December 10,

2018.   In exchange for their purported trust, loyalty, and fidelity to the Company and its

shareholders, Brennan received total compensation in 2016, 2017, and 2018 of $397,272,




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$380,374, and $308,774. On information and belief, Brennan is a citizen of Pennsylvania.

       30.     Defendant Cash was on GE’s Board of Directors from 1997 to April 2016. In

exchange for their purported trust, loyalty, and fidelity to the Company and its shareholders, Cash

received total compensation in 2016 of $1,127,026. On information and belief, Cash is a citizen

of Florida.

       31.     Defendant Culp has been on GE’s Board of Directors since April 25, 2018, and has

been Chairman and CEO since September 30, 2018. In exchange for their purported trust, loyalty,

and fidelity to the Company and its shareholders, Culp received total compensation in 2018 of

$15,398,827. On information and belief, Culp is a citizen of Virginia.

       32.     Defendant Dekkers was on GE’s Board of Directors from 2012 to April 2018. In

exchange for their purported trust, loyalty, and fidelity to the Company and its shareholders,

Dekkers received total compensation in 2016, 2017, and 2018 of $319,033, $331,017, and

$1,113,311. On information and belief, Dekkers is a citizen of New Hampshire.

       33.     Defendant D’Souza has been on GE’s Board of Directors since 2013. In exchange

for their purported trust, loyalty, and fidelity to the Company and its shareholders, D’Souza

received total compensation in 2016, 2017, and 2018 of $320,149, $290,105, and $299,642. On

information and belief, D’Souza is a citizen of New Jersey.

       34.     Defendant Flannery was GE’s Chief Executive Officer (“CEO”) from August 1,

2017 to September 30, 2018, when Culp was appointed to replace him, was on GE’s Board of

Directors from 2017 to October 2018, and was Chairman of the Board from January 2018 to

October 2018. Flannery is a defendant in the Securities Class Action. In exchange for their

purported trust, loyalty, and fidelity to the Company and its shareholders, Flannery received total

compensation in 2017 and 2018 of $9,000,603 and $16,643,290, respectively. On information and




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belief, Flannery is a citizen of Massachusetts.

       35.     Defendant Garden has been on GE’s Board of Directors since 2017. In exchange

for their purported trust, loyalty, and fidelity to the Company and its shareholders, Garden received

total compensation in 2017 and 2018 of $80,719 and $328,846, respectively. On information and

belief, Garden is a citizen of Connecticut.

       36.     Defendant Hauser joined GE as Vice President-Controller and Chief Accounting

Officer (“CAO”), effective April 15, 2013, and remained in that role until September 10, 2018,

when he retired and was replaced by non-party Thomas S. Timko. Hauser is a defendant in the

Securities Class Action. On information and belief, Hauser is a citizen of Massachusetts.

       37.     Defendant Henry was on GE’s Board of Directors from 2016 to April 2018. In

exchange for their purported trust, loyalty, and fidelity to the Company and its shareholders, Henry

received total compensation in 2016, 2017, and 2018 of $141,254, $307,755, and $115,311,

respectively. On information and belief, Henry is a citizen of New York.

       38.     Defendant Hockfield was on GE’s Board of Directors from 2006 to April 2018. In

exchange for their purported trust, loyalty, and fidelity to the Company and its shareholders,

Hockfield received total compensation in 2016, 2017, and 2018 of $286,311, $306,726, and

$1,108,947, respectively. On information and belief, Hockfield is a citizen of Massachusetts.

       39.     Defendant Horton has been on GE’s Board of Directors since 2018, and was elected

lead director on October 2, 2018. Horton was initially on the Special Committee, but was replaced

by Reynolds in December 2018. In exchange for their purported trust, loyalty, and fidelity to the

Company and its shareholders, Horton received total compensation in 2018 of $256,460. On

information and belief, Horton is a citizen of Texas.

       40.     Defendant Immelt served as Chairman of GE’s Board of Directors from September




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7, 2001 to October 7, 2017, when he abruptly resigned three months earlier than expected and was

replaced by Flannery. Immelt also served as GE’s CEO from September 2001 through July 31,

2017, and was a member of GE Capital’s Board from 1998 through 2015. Immelt is a defendant

in the Securities Class Action. In exchange for their purported trust, loyalty, and fidelity to the

Company and its shareholders, Immelt received total compensation in 2014, 2015, 2016, and 2017

of $18,855,141, $26,831,472, $17,962,122, and $4,982,197 respectively. On information and

belief, Immelt is a citizen of South Carolina.

       41.     Defendant Jung was on GE’s Board of Directors from 1998 to April 2018. In

exchange for their purported trust, loyalty, and fidelity to the Company and its shareholders, Jung

received total compensation in 2016, 2017, and 2018 of $322,948, $332,610, and $1,119,487,

respectively. On information and belief, Jung is a citizen of New Jersey.

       42.     Defendant Lane was on GE’s Board of Directors from 2005 to October 9, 2017. In

exchange for their purported trust, loyalty, and fidelity to the Company and its shareholders, Lane

received total compensation in 2016 and 2017 of $311,035 and $1,223,177, respectively. On

information and belief, Lane is a citizen of Illinois.

       43.     Defendant Lavizzo-Mourey has been on GE’s Board of Directors since 2017. In

exchange for their purported trust, loyalty, and fidelity to the Company and its shareholders,

Lavizzo-Mourey received total compensation in 2017 and 2018 of $176,036 and $309,633,

respectively. On information and belief, Lavizzo-Mourey is a citizen of Pennsylvania.

       44.     Defendant Laxer was the President and CEO of GE Capital from September 2016

until his retirement from GE, which was announced in December 2017 and became effective on

March 31, 2018. Between 2009 and September 2016, Laxer held a number of senior roles within

GE Capital and was the CEO of GE Capital International prior to becoming the President and CEO




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of GE Capital. Laxer is a defendant in the Securities Class Action. On information and belief,

Laxer is a citizen of New York.

        45.    Defendant Lazarus was on GE’s Board of Directors from 2000 to April 2018. In

exchange for their purported trust, loyalty, and fidelity to the Company and its shareholders,

Lazarus received total compensation in 2016, 2017, and 2018 of $314,495, $331,017, and

$1,113,311, respectively. On information and belief Lazarus is a citizen of New York.

        46.    Defendant Lesjak has been on GE’s Board of Directors since 2019. On information

and belief, Lesjak is a citizen of California.

        47.    Defendant McAdam was on GE’s Board of Directors from 2016 to December 8,

2017.   In exchange for their purported trust, loyalty, and fidelity to the Company and its

shareholders, McAdam received total compensation in 2016 and 2017 of $173,625 and $281,338,

respectively. On information and belief, McAdam is a citizen of New York.

        48.    Defendant Miller served as GE’s CFO from November 1, 2017, when she replaced

Bornstein, until March 2020, when she was replaced by non-party Carolina Dybeck Happe. 3

Miller joined GE in 2008 as Vice President, Controller, and Chief Accounting Officer. She became

GE’s Senior Vice President and Chief Information Officer in 2013 and became President and CEO

of GE Transportation in 2015. Miller is a defendant in the Securities Class Action. In exchange

for their purported trust, loyalty, and fidelity to the Company and its shareholders, Miller received

total compensation in 2017 and 2018 of $5,057,861 and $7,401,678, respectively. On information

and belief, Miller is a citizen of Massachusetts.

        49.    Defendant Mollenkopf was on GE’s Board of Directors from 2016 to April 2018.



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       On July 31, 2019, GE announced that Miller would be stepping down as CFO, but would
remain in the position until the Company could find a replacement.


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In exchange for their purported trust, loyalty, and fidelity to the Company and its shareholders,

Mollenkopf received total compensation in 2016, 2017, and 2018 of $34,288, $278,833, and

$104,173. On information and belief, Mollenkopf is a citizen of California.

       50.     Defendant Mulva was on GE’s Board of Directors from 2008 to May 2019. In

exchange for their purported trust, loyalty, and fidelity to the Company and its shareholders, Mulva

received total compensation in 2016, 2017, and 2018 of $325,915, $344,598, and $333,831,

respectively. On information and belief, Mulva is a citizen of Wisconsin.

       51.     Defendant Reynolds has been on GE’s Board of Directors since 2018. Reynolds

replaced Horton as the third member of the Special Committee in December 2018. In exchange

for their purported trust, loyalty, and fidelity to the Company and its shareholders, Reynolds

received total compensation in 2018 of $35,285. On information and belief, Reynolds is a citizen

of Washington.

       52.     Defendant Rohr was on GE’s Board of Directors from 2013 to April 2018. In

exchange for their purported trust, loyalty, and fidelity to the Company and its shareholders, Rohr

received total compensation in 2016, 2017, and 2018 of $398,732, $361,143, and $1,139,799,

respectively. On information and belief, Rohr is a citizen of Pennsylvania.

       53.     Defendant Schapiro was on GE’s Board of Directors from 2013 to April 2018. In

exchange for their purported trust, loyalty, and fidelity to the Company and its shareholders,

Schapiro received total compensation in 2016, 2017, and 2018 of $329,998, $311,797, and

$1,128,546, respectively. On information and belief, Schapiro is a citizen of the District of

Columbia.

       54.     Defendant Seidman has been on GE’s Board of Directors since 2018. In exchange

for their purported trust, loyalty, and fidelity to the Company and its shareholders, Seidman




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received total compensation in 2018 of $257,559. On information and belief, Seidman is a citizen

of Connecticut.

        55.     Defendant Sherin served as CFO of GE from 1999 until July 2013, when he became

GE Capital’s Chairman and CEO.            Sherin held both positions until he resigned, effective

September 1, 2016. Sherin also served as Vice Chairman of GE from 2007 until December 31,

2016. Sherin is a defendant in the Securities Class Action. In exchange for their purported trust,

loyalty, and fidelity to the Company and its shareholders, Sherin received total compensation in

2014, 2015, and 2016 of $11,887,684, $19,087,703, and $17,609,982, respectively.                  On

information and belief, Sherin is a citizen of Florida.

        56.     Defendant Swieringa was on GE’s Board of Directors from 2002 to April 2016. In

exchange for their purported trust, loyalty, and fidelity to the Company and its shareholders,

Swieringa received total compensation in 2016 of $1,130,274.            On information and belief,

Swieringa is a citizen of New York.

        57.     Defendant Tisch has been on GE’s Board of Directors since 2010. In exchange for

their purported trust, loyalty, and fidelity to the Company and its shareholders, Tisch received total

compensation in 2016, 2017, and 2018 of $270,630, $285,047, and $309,285, respectively. On

information and belief, Tisch is a citizen of New York.

        58.     Defendant Warner was on GE’s Board of Directors from 1992 to April 2016. In

exchange for their purported trust, loyalty, and fidelity to the Company and its shareholders,

Warner received total compensation in 2016 of $1,120,685. On information and belief, Warner is

a citizen of Michigan.

        59.     Defendant Carter has been on GE’s Board of Directors since 2020. On information

and belief, Carter is a citizen of Virginia.




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                                SUBSTANTIVE ALLEGATIONS

    A. Defendants Mislead Investors Regarding GE’s LTC Reserves and GE Capital’s
       Overall Financial Status

        60.      Between the late 1980s and early 2000s, GE Capital underwrote and reinsured LTC

insurance policies to insure costs associated with assisted living, specialized skilled care facilities,

and other related expenses.

        61.      Pursuant to GAAP, insurance companies that insure or reinsure LTC policies – such

as GE – are required to review mortality rates, healthcare costs, claims experience, and interest

rates and to allocate their cash reserves accordingly.

        62.      Additionally, pursuant to regulations promulgated by the SEC, GE is required to

include disclosures about its LTC insurance policy-based liabilities in its quarterly and annual

reporting, which must include information related to claims paid in the same accounting period,

expectations for concerning events, circumstances creating liability, and the eventual payment of

future claims.

        63.      Pricing assumptions of LTC policies fluctuate based on the cost of healthcare, life

expectancy, and interest rates. In the mid-2000s, LTC insurance businesses faced substantial

changes in these trends as a result of an increase in the average American life span and, as a result,

many insurers experienced substantial loses and were forced to increase their premiums and update

their pricing assumptions significantly.

        64.      The Individual Defendants would have been very familiar with this phenomenon.

After GE spun off its life and mortgage insurance unit Genworth in 2014, a securities class action

was filed against Genworth for its inadequate cash reserves on its LTC policies, and Genworth




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was forced to increase its LTC reserves by $435 million after it settled the class action. 4

       65.      Nevertheless, while significant changes were being made in the entire LTC

insurance industry by other LTC providers, GE retained its position without making any

substantial changes in its cash reserve assumptions for its LTC policies.

       66.      Further, as part of concealing the Company’s LTC liability, the Individual

Defendants caused the Company to misrepresent GE Capital’s insurance portfolio and create a

false impression that GE had sold its insurance business, excluding its remaining LTC liabilities

from SEC filings.

       67.      For example, on December 18, 2013, in its Annual Investor Outlook Meeting,

Defendant Immelt reassured investors by stating “[w]e’ve sold Plastics, and we sold NBC and

we’ve sold the North American Retail Finance business, we’ve sold reinsurance business, the

insurance business, the bond insurance business.”

       68.      Similarly, on December 16, 2014, in GE’s annual guidance and update call with

analysts and investors, Immelt stated that GE had achieved its “risk reduction” goal to “[s]ell

insurance before the storm.” During the same call, Immelt further stated that “we exited insurance

in time.”

       69.      On February 26, 2013, GE filed its Form 10-K for the fiscal year ended December

31, 2012 with the SEC, which was signed by Defendants Immelt, Miller, and Sherin, and certified

by Immelt and Sherin. Contrary to the Company’s previous filings, and without any explanation,

LTC liabilities were suddenly excluded from GE’s Disclosed Insurance Liabilities.

       70.      LTC liabilities continued to be excluded from GE’s SEC filings during the Relevant

Period. This exclusion enabled the Individual Defendants to decrease Disclosed Insurance


4
       In re Genworth Fin. Sec. Litig., No. 1:14-cv-2392-AKH (S.D.N.Y.).


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Liabilities. In fact, disclosed LTC liabilities totaled $22 billion as of December 31, 2008, $23.7

billion as of 2011, and with the exclusion, dropped to $14 billion as of February 26, 2013. In 10-

Ks for fiscal years 2013, 2014, 2015, and 2016, Disclosed Insurance Liabilities were listed as $13.5

billion, $12.6 billion, $11.5 billion, and $11.1 billion, respectively. 5

        71.     The Individual Defendants also caused the Company to mislead the investing public

with their statements about GE Capital’s overall financial status. On April 19, 2013, during the

Company’s first quarter 2013 earnings call, Immelt stated, “GE Capital delivered a solid quarter,

up 9% while they continue to shrink their non-core assets, which were down $17 billion in the

quarter versus previous years.” Sherin added, “[w]e have got over $60 billion of noncore assets.

We continue to run those off.”

        72.     During the Sanford C. Bernstein Strategic Decisions Conference the following

month, former Chairman and CEO of GE Capital, Michael Neal, stated that “we have made [GE

Capital] smaller. We have made it safer. We have made it more core.” He further described GE

Capital’s remaining portfolio as “our best stuff” and claimed that it “is very safe for us and we err

on the side of being safe and being secure.”

        73.     The Individual Defendants caused the Company to create an illusion that GE was

lowering GE Capital’s risks. On April 10, 2015, during a specially convened call with investors,

Sherin stated “[a]s you all know, we have done a lot over the last six years to shrink GE Capital

while also making it much safer.”

        74.     During the Company’s April 22, 2015 Annual Shareholders Meeting, Defendant

Bornstein stated that “the businesses that you’ll be left with will be those businesses that are



5
       The Form 10-Ks that were filed with the SEC in 2014, 2015, 2016, and 2017 were all
signed by Defendants Immelt, Hauser, and Bornstein.


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synergistically aligned to our industrial businesses and provide real competitive advantage and,

importantly, from a capital allocation perspective, generate a return that’s well in excess of our

cost of capital.”

        75.     All of these statements were false and misleading because they obscured that, like

the LTC market generally, GE’s reinsured LTC portfolio had significantly deteriorated both before

and throughout the Relevant Period.       The Individual Defendants made no mention of and

intentionally omitted these material facts, risks or trends, and their likely severe negative impact

on the Company’s financial condition. The Company’s SEC filings throughout the Relevant

Period similarly omitted such information and thus were also false and misleading. Indeed, rather

than disclosing the Company’s true state of affairs to the public, the Individual Defendants changed

the manner in which GE reported its LTC insurance risks to investors in violation of SEC

regulations, mischaracterized the Company’s LTC risk exposure as “life insurance,” and continued

to falsely represent that the Company had reduced such risks and that any remaining exposure was

immaterial and would be “run off” over time.

        76.     These misleading statements continued throughout the Relevant Period, with the

Individual Defendants continually presenting GE Capital as a strong and solid segment of GE

while downplaying the riskiness of its portfolio.

        77.     During the June 1, 2016 Sanford C. Bernstein Strategic Decisions Conference, for

instance, Defendant Sherin stated “[a]ssets are down 50% when we filed and even within that a

third of the assets that are remaining are in cash and liquidity. That’s up substantially from where

it was when we were designated. And we are not just smaller; we exited whole pools of risk.”

        78.     Only 10 months before it was revealed that GE Capital would be required to

allocate $15 billion for the statutory LTC reserves for seven years and would suspend its dividend




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to GE for the “foreseeable future,” on March 13, 2017, Defendant Laxer, then-CEO of GE Capital,

continued to mislead investors and analysts by stating that it would not be “attractive” for GE to

sell its run-off insurance portfolio “given the interest rate environment we are in right now.” After

that statement, a J.P. Morgan analyst cited these representations in a report he issued that day,

stating, “[o]n the insurance liabilities assets, GE noted that it’s not attractive to exit this business

in the current rate environment and would need a couple more increases in rates to start considering

a move.”

         79.    These statements were similarly false and misleading because they misrepresented

the toxic nature and extent of GE’s LTC risks, which were certain to have a significant, negative

impact on the Company’s financial performance.

    B. The Individual Defendants Concealed GE’s Massive Long-Term Liabilities and
       Material Risks Related to GE Power and its Long-Term Service Agreements

         80.    In addition to the guarantees that were made regarding GE Capital specifically, the

Individual Defendants were also making assurances regarding GE’s entire portfolio, including GE

Power.

         81.    During GE’s Annual Outlook Investor Meeting on December 14, 2016, former

CEO Immelt stated that GE’s earnings guidance was “very strong pipeline not just in the Power

business but across the portfolio.”

         82.    In reality, however, GE Power was actually suffering from declining margins on its

equipment sales and decreasing customer utilization rates, and the Individual Defendants kept the

illusion of meeting earning targets alive by propping up GE Power’s earnings with improper

accounting practices.

         83.    Essentially, the Individual Defendants utilized the long-term nature of the LTSAs

to artificially inflate GE Power’s contract assets and therefore inflated its revenues and profits. GE



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recognized revenues under the LTSAs before the actual billing of the customers or receipt of any

payment. GE categorized such revenues under contract assets along with other assets, concealing

the LTSAs’ proportion in this classification. GE Power reported rapidly growing contract assets

of $9.4 billion in 2012, $12.5 billion in 2013, $16.9 billion in 2014, and $21.156 billion in 2015.

These calculations were the result of GE’s heavy reliance on positive cumulative catch-up

adjustments, whereby the Company estimated increased revenues by adjusting its expected profits

from LTSAs upwards. Although objective customer and industry data indicated a decrease,

Defendants continued to report positive cumulative catch-up adjustments.

       84.     Further, upon announcement of new accounting rules in May 2014, GE Power

began factoring (or selling) its LTSA receivables to GE Capital in order to conceal growing cash

flow problems. By utilizing this strategy, the Individual Defendants were able to prevent investors

from noticing the gap between GE Power’s reported revenue and its ICFOA (cash that is actually

received for services provided).

       85.     Analysts expressed their concerns about the increasing gap between GE Power’s

contract assets and ICFOA during a January 20, 2017 conference call, in which they were given

an opportunity ask their questions regarding the Company’s 2016 year-end results. However, GE

Capital’s role in GE Power’s ICFOA was denied by Defendant Bornstein, who specifically said

that GE Power was performing very well and that GE Capital’s factoring activities were not

significant to GE Power’s performance. The dialogue went thus:

       Steven Winoker—Sanford C. Bernstein & Co.—Analyst
       Thanks, good morning. Since I only have one question I’d love to focus on cash
       here. And within that, Jeff, is there any factoring this quarter from GE Capital into
       GE industrial? And then also while it’s the strongest cash flow quarter in a while,
       still a little bit below what we thought you guys implied when we talked about it
       before. Then as you think about it progressing through 2017 and beyond maybe
       just talk a little more about the cash flow initiative comp that really can give
       investors confidence that the cash flow part of the story is improving.



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       Jeff Bornstein—General Electric Company—SVP & CFO
       Okay, there’s a lot in that. So let me start with the fourth quarter, Steve. We
       improved working capital in fourth quarter about $5.2 billion which the best we can
       tell is the strongest working capital quarter the Company has ever had. And I want
       to just give you some of the pieces on that.

                                                  ***

       So within that accounts receivable performance you asked about factoring. For the
       total year, factoring with GE Capital was a $1.6 billion change for the year. It was
       $1.7 billion last year, so actually year-to-year it was $100 million less of a benefit
       in the year between what we did with GE Capital around factoring. And in the
       fourth quarter importantly, and you see it because our receivables improved $500
       million, is from the third to fourth quarter of 2015, the benefit was $2.3 billion, the
       benefit going from this past third quarter to this quarter was $700 million.

       So it was actually down $1.6 billion year-to-year between third and fourth quarter
       each of those years. So there’s very good underlying performance here. It’s not
       just about, it’s actually very little to do with GE Capital factoring.

       86.     These statements were false and misleading because they failed to disclose the

declining utilization of GE-serviced assets under LTSAs, GE Power’s reliance on LTSA

modifications and cumulative catch-up adjustments, and GE’s Power’s heavy reliance on factoring

to hide its liquidity problems.

   C. The Exchange Act Defendants Made False and Misleading Statements and
      Omissions in the Company’s 2017 Proxy Statement

       87.     On March 8, 2017, GE filed its 2017 Proxy Statement with the SEC (the “2017

Proxy Statement”) seeking the reelection of the Company’s directors. The 2017 Proxy Statement

stated that the Board’s role was “overseeing risk management and understanding the most

significant risks facing the company” and touted that GE had “added directors with experience in

risk management and oversight.” The 2017 Proxy Statement further represented that “GE uses a

broad set of financial metrics to measure its performance, and accurate financial reporting and

robust auditing are critical to our success.”

       88.     These statements were false and misleading and omitted material information


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because the Board had in fact consciously disregarded its oversight responsibilities with respect to

the accuracy of GE’s financial reporting and the significant risks posed by the Company’s

crumbling LTC insurance policies in its GE Capital division and illusory revenue recognition

scheme in its GE Power business.

   D. While Committing the Wrongdoing Alleged Herein, the Waste Defendants and
      Unjust Enrichment Defendants Approved and/or Received Millions of Dollars from
      the Company

       89.     From 2014 to 2018, each of the Unjust Enrichment Defendants participated in the

breaches of fiduciary duties, violations of securities laws, and other wrongdoing alleged herein.

       90.     Each of the Waste Defendants served on the Board during the same period. Yet

despite being aware of and indeed participating in the same wrongdoing, the Waste Defendants

approved millions of dollars of compensation to the Unjust Enrichment Defendants in exchange

for their purported loyalty and fidelity to the Company.

       91.     The Unjust Enrichment Defendants were not entitled to receive such compensation,

and no rational person would have approved such compensation, in light of the Unjust Enrichment

Defendants’ material misrepresentations and fraudulent practices regarding the Company’s

looming LTC risk exposure and liquidity crisis with GE Power.

   E. Defendants’ Fraud Unraveled and the Truth Began to Emerge

       92.     In mid-2017, the truth – although only partial – began to emerge regarding GE’s

cash flow issues, mismanagement of LTC reserves, and GE Power’s earning issues.

       93.     On April 21, 2017, the Company shocked the market when it was reported ICFOA

of “negative $1.6 billion.”

       94.     Three months later, GE announced that GE Capital’s LTC reserves and its contract

assets had “adverse claims experience in a portion of our long-term care portfolio and we will




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assess the adequacy of our premium returns.” Upon this partial disclosure, GE’s share price fell

$0.78, or 2.92%, to close at $25.91 on July 21, 2017, shedding approximately $6.8 billion in market

capital.

           95.   On October 20, 2017, GE announced its third-quarter 2017 results. During the

discussion of these results with analysts, GE revealed that it had “recently observed elevated claims

experience for a portion of the long-term care book at GE Capital’s legacy insurance business”

and the Company “began a comprehensive review in the third quarter of premium deficiency

assumptions that are used in the annual claims reserve adequacy test.” On the same conference

call, GE announced that the Power segment was underperforming. On this news, JP Morgan,

Morgan Stanley, and other analysts downgraded GE’s stock and the stock price fell another $1.51

per share to close at $22.32 on October 23, 2017, shedding approximately $13.1 billion in market

capital.

           96.   Then, on November 13, 2017, GE announced that it was cutting its annual dividend

in half, from $0.96 to $0.48 per share. This was a significant and shocking announcement, as the

Company had not cut its dividend since the Great Depression. Additionally, GE’s former CEO

Flannery declared that GE Capital would not be paying a dividend to GE in 2018. Flannery

explained this decision by stating: “[W]e’ve been paying a dividend in excess of our free cash flow

for a number of years now” and further explained that “dividend was predicated on us growing to

a certain level that we just did not see happening in terms of industrial cash flow in the next couple

of years . . . . So, the single biggest delta, I think is obvious, which is what happened in the Power

business.”

           97.   As a result of these statements, along with the significant dividend cut, the

Company’s stock price fell an additional $1.12 per share, to close at $17.90 on November 14,




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2017, shedding approximately $9.7 billion in additional market capital.

       98.     Further, as would later be revealed, in November 2017, the SEC began investigating

the Company’s revenue recognition practices and internal controls over financial reporting relating

to LTSAs.

       99.     On January 16, 2018, GE announced that it would be exposed to an assessment of

“after-tax GAAP charge of $6.2 billion for the fourth quarter of 2018.” Additionally, GE revealed

that GE Capital would be required to allocate $15 billion for the statutory LTC reserves for seven

years and [would] suspend its dividend to GE for the “foreseeable future.”

       100.    Considering the long history of insurance companies facing substantial losses

relating to their LTC policies, analysts covering GE suggested that GE likely had prior knowledge

of its LTC reserve problems. For instance, Melius Research analyst Scott Davis reported that it is

“very hard to believe that mysteriously overnight GE found problems they didn’t know existed.”

Likewise, Vertical Research Partners analyst Jeff Sprague noted that “[i]t’s hard to imagine a $15

billion problem materialized in the course of the year.” Further, the inadequacy of LTC cash

reserves could not have been a surprise to the Individual Defendants, as the Company had

previously owned Genworth, which had systemic problems with its LTC reserves.

       101.    Analysts covering GE Power were similarly skeptical about the Individual

Defendants’ revelations. On February 21, 2018, the Wall Street Journal in an article titled, How

Jefferey Immelt’s Success Theater Masked the Rot at GE,6 reported that former executives were

“pulling future profit forward.” The article noted that “[s]ome analysts have expressed concern

GE’s accounting for the upgrades masked pressure on the [Power] division. According to former



6
        Available at https://www.wsj.com/articles/how-jeffrey-immelts-success-theater-masked-
the-rot-at-ge-1519231067 (last accessed Jan. 5, 2021).


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executives, the upgrades meant lower service fees for customers, in exchange for one-time upgrade

costs, meaning that future sales were being pulled forward.” This article also quoted Deutsche

Bank analyst John Inch, who had a “sell” rating on GE’s stock because “[t]he history of GE is to

selectively only provide positive information,” and “[t]here is a credibility gap between what they

say and the reality of what is to come.”

       102.    On October 1, 2018, GE suddenly replaced its CEO Flannery with Culp. In the

press release announcing the Company’s leadership change, it was also revealed that GE would

take a “$23 billion non-cash charge” in its GE Power segment—essentially wiping out the entire

balance of GE Power’s goodwill balance.

   F. The SEC and DOJ Investigations

       103.    On October 30, 2018, in the Company’s Form 10-Q announcing its quarterly results

for the third quarter of 2018, Defendants revealed that in late November 2017, the SEC had notified

the Company that it was conducting an investigation of its revenue recognition practices and

internal controls over financial reporting relating to LTSAs.

       104.    Following the Company’s investor update on January 16, 2018 about the increase

in future policy benefit reserves for GE Capital’s run-off insurance operations, the SEC expanded

the scope of its investigation to encompass the reserve increase and the process leading to the

reserve increase. Upon this news, GE’s stock price dropped again, by $0.45 to $16.44 on January

24, 2018.

       105.    Following the Company’s announcement on October 1, 2018 about the expected

non-cash goodwill impairment charge related to GE’s Power business, the SEC expanded the

scope of its investigation to include that charge as well.

       106.    With this news of expanded and additional investigations, GE’s stock price dropped




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once again from $11.31 to a low of $9.98 in a matter of hours. In sum, since July 20, 2017 (the

day before the Company disclosed problems with its LTC reserves) to October 31, 2018 (the day

after these new revelations), GE’s stock price dropped from $26.69 to $9.98—a devastating loss

of nearly 63%.

       107.      On October 6, 2020, GE announced that on September 30, 2020, the SEC staff

issued a “Wells notice” to GE, advising that it is considering recommending that the SEC bring a

civil injunctive action against GE for possible violations of securities laws related to “historical

premium deficiency testing for GE Capital’s run-off insurance operations, as well as GE’s

disclosures relating to such run-off insurance operations.”

       108.      In the Company’s 10-Q for the third quarter of 2020, filed with the SEC on October

28, 2020, Defendants disclosed that GE has “recorded a reserve of $100 million as of September

30, 2020 related to the investigation.”

       109.      Even this extensive reserve would prove woefully inadequate. On December 9,

2020, the SEC Order was issued, announcing that GE agreed to pay $200 million to the SEC to

settle claims regarding its disclosure failures within GE Power and GE Capital. According to the

SEC Order, the SEC found that, between 2015 and 2017:

       GE failed to disclose to investors information concerning the nature of its reported
       profit growth in its power business and $2.5 billion in reported cash collections.
       Second, from the third quarter of 2015 through the first quarter of 2017, GE failed
       to disclose to investors worsening trends in its insurance business and the
       potential for substantial losses. GE’s insurance business ultimately incurred a $9.5
       billion pre-tax charge against GE’s earnings for the fourth quarter of 2017 and
       required capital contributions by GE of approximately $15 billion over seven years
       to fund expected future insurance claims.7

       110.      With respect to the misleading statements regarding the GE Power segment, the



7
       Unless otherwise specified, all emphasis herein is supplied.


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SEC found that:

      GE failed to disclose that more than one quarter of GE Power’s reported profits in
      2016 and almost half of its reported profits in the first three quarters of 2017
      resulted from reductions in estimates of the cost to complete its multi-year
      agreements to provide repairs and service for customers’ power turbines. Under
      GE’s accounting method, these reductions in cost estimates resulted in large
      revenue and earnings increases in the period in which the estimates were changed.
      In public disclosures, GE misled investors by describing its Power segment profits
      without explaining that more than $1.4 billion in 2016 and $1.1 billion in the first
      three quarters of 2017 stemmed from reductions in cost estimates.

      GE reported increased industrial cash collections commensurate with increased Power
      segment profits in 2016 and 2017 by changing its practices to sell (or “factor”) longer
      term receivables from its Power service multi-year agreements, principally to GE’s
      own subsidiary (known as GE Capital). Selling longer term receivables to GE Capital
      allowed GE immediately to report increased industrial cash flow, without disclosing
      that GE was depleting future cash flows by moving them into the present. As a result
      of this new practice, called “deferred monetization,” GE boosted a publicly reported
      cash flow measure by more than $1.4 billion in 2016 and more than $500 million in
      the first three quarters of 2017. GE failed to disclose to investors its adoption and
      reliance on deferred monetization which increased present industrial cash flow at the
      expense of future years.

      111.    With respect to the misleading statements regarding GE’s insurance business, the

SEC found that:

      GE’s insurance business reinsured billions of dollars’ worth of policies written by other
      insurers, including a substantial number of long-term care insurance policies. Long-
      term care policies cover future costs associated with growing older, such as nursing
      home and assisted living expenses. Long-term care policies – including those insured
      by GE – were badly underpriced. By 2015 and 2016, claims by long-term care
      insurance policy-holders had been exceeding GE’s original projections for years. In
      2015 and 2016, despite known continuing trends of increasing costs from long-term
      care insurance policies, GE’s insurance business lowered projected claims costs for
      the distant future and simultaneously concluded that it did not have insurance losses.
      GE failed to disclose its rising claim costs and the resulting potential for material
      insurance losses.

      In 2017 and 2018, GE made a series of public announcements describing disappointing
      cash and earnings results in its GE Power business as well as the $9.5 billion pre-tax
      insurance charge and required capital contributions of approximately $15 billion over
      seven years. These issues contributed to GE’s almost 75% stock decline during those
      years.


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        112.    According to the SEC Order, GE lacked proper internal audit controls and “did not

design and maintain sufficient internal accounting controls governing: (1) management’s process for

determining, reporting, and recording its loss recognition testing for its insurance business, and (2) the

supporting documentation that must be maintained to evidence management’s process in determining

its loss recognition testing estimate.” Moreover, according to the Order, “GE lacked sufficient

disclosure controls and procedures to ensure that known trends and uncertainties regarding its

insurance liabilities were accumulated and communicated to the GE executives responsible for the

company’s disclosure in a timely manner as required by Rule 13a-15(a).”

        113.    According to the Company’s 10-K for the fiscal year ended December 31, 2019,

filed on February 24, 2020, the DOJ is also investigating these matters.

    G. The Full Impact of Mismanagement at GE Power and GE Capital Became Clear

        114.    On December 14, 2018, the Wall Street Journal published an article titled “GE

Powered the American Century – Then It Burned Out” (the “Dec. 14, 2018 WSJ Article”),8

detailing alleged wrongdoing at GE Capital and GE Power, in addition to asserting that the

Company’s culture fostered a lack of oversight by the Board Members. 9

        115.    According to the article:

        [GE Capital’s] cash flowed up to headquarters where it powered the development
        of new jet engines and dividends for shareholders. Capital also gave General
        Electric's chief executives a handy, deep bucket of financial spackle with which to
        smooth over the cracks in quarterly earnings reports and keep Wall Street happy.
        Sometimes that meant peddling half a parking lot on the final day of a quarter, or

8
       Available at https://www.wsj.com/articles/ge-powered-the-american-centurythen-it-
burned-out-11544796010 (last accessed Dec. 5, 2020).
9
       The article was based on “scores of interviews with dozens of people directly involved” in
the events described therein, including “current and former board members, senior executives and
employees at GE headquarters and its various business units,” as well as, among other things, a
review of “internal GE communications and documents, including emails, slide presentations and
videos.”


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       selling a part interest in a power plant only to purchase it back after the quarter
       closed.

       116.    The Dec. 14, 2018 WSJ Article also confirmed that GE is heavily dependent on GE

Capital financially. Pursuant to the article “a handful of top-ranking executives huddled here and

there, always discreetly, to discuss their most obvious problem. GE couldn’t live without GE

Capital, still so big it was essentially the nation's seventh largest bank. But investors couldn’t live

with GE Capital and its unshakable shadow of risk, either.” Indeed, GE Capital’s “ghost of an

insurance business that investors thought the company had rid itself of years before would prevent

GE Capital from sending the $3 billion it had promised to headquarters.”

       117.    GE Capital’s internally-known risk exposure due to LTC policies was also

discussed in the article. In particular, the article posited that: “The bankers didn’t think the long-

term-care business could be part of the Genworth spinoff. To make the deal more attractive, GE

agreed to cover any losses. This insurance for insurers covered about 300,000 policies by early

2018, about 4% of all such policies written in the country. Incoming premiums weren't covering

payouts.”

       118.    Similarly, according to the article, GE Power became “stretched” after GE Power

closed a deal with Alstom SA (“Alstom”) in 201510 and in order to hit the targets GE resorted

aggressive accounting in their long-term service contracts. In pertinent part, the article states that:

       Throughout 2016, teams inside Power combed through the portfolio of service
       contracts, each representing payments from power generators to maintain the
       turbines GE had sold them. By design, those contracts were malleable. A
       technological innovation that improved the performance of a turbine blade or
       lengthened the number of hours between maintenance outages had to be accounted
       for.

       The GE teams started offering discounted turbine upgrades to customers in

10
        In November 2015, GE acquired Alstom’s power and grid businesses – its largest-ever
industrial purchase.


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       exchange for extending the length of contracts to as far out as 2050. Executives
       scoured existing contracts for ways to change underlying assumptions, such as
       the frequency of overhauls, to boost their profitability.

       GE Power even sold its receivables-the bills its customers owed over time-to GE
       Capital to generate short-term cash flow. The unit gave customers discounts on
       their service contracts, lowering their overall value, in exchange for renegotiations
       that let the company bill the customers sooner.

       The accounting maneuvers were legal, if aggressive, GE executives assured one
       another. But it also meant that the profits were mostly on paper. Rarely was a
       new dollar of profit flowing in the door.

       Bolze’s team was operating in a tradition that stretched at least as far back as the
       glory days of Jack Welch, but the scale of the aggressive contract accounting was
       far bigger.

       Worry was starting to grow inside Power by the end of 2016. Management’s
       expectations about the sales growth and profit they should be able to hit didn't
       reflect the dim reality of the market, team members told Bolze and Paul
       McElhinney, the head of the unit that administered the service contracts.

       The complaints were common among lower-level executives, but when raised to
       leaders like McElhinney, they were stopped cold.

       Steve’s our guy,” McElhinney said in one meeting. If Bolze was elevated to CEO,
       those behind him in Power would rise too. “Get on board," he said. “We have to
       make the numbers.”

       119.   Moreover, the December 14, 2018 WSJ Article sheds a light on the Company’s

culture that fostered a lack of oversight by the Board Members. In particular, the article states

that, “[f]or 36 years under Immelt and Welch, the board had largely followed the chairman’s lead.

One newcomer under Welch was so surprised by the lack of debate that the director asked a more

senior colleague, ‘What is the role of a GE board member?’ ‘Applause,’ the older director

answered.”

       120.   As stated in the article, the severity of the lack of oversight was evident; for

example, when a 24-year GE director and the former CEO of JP Morgan, Defendant Warner,

disagreed with Immelt concerning his successor as a CEO, he was pushed out by Immelt.



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       121.     On January 31, 2019, GE announced its dismal results for the quarter ended

December 31, 2018. According to the January 31st press release, GE Capital’s “[c]ontinuing

operations incurred a loss of $86 million in the quarter” and after completing its “loss recognition

testing on our insurance business during the quarter and recorded a $65 million charge after-tax.”

In the same press release, GE reported that GE Power “was negatively impacted by continued

execution and operational issues on equipment projects and transactional services. Revenues of

$6.8 billion were down 25% and the business incurred a loss of $872 million primarily related to

these issues.” Further, GE Power’s “profit was negatively impacted by price, liquidated damages

for execution delays on projects, and higher losses related to the legacy Alstom joint ventures as

we began fully consolidating these entities during the quarter.”

       122.     That same day, during GE’s earnings call for the fourth quarter of 2018, Culp listed

his priorities, one of which was “high-level financial results.” However, Culp stated that for the

fourth quarter, GE’s industrial free cash flow was $4.9 billion, which “was negatively impacted

by the weakness in Power” segment. Additionally, Culp stated that GE ended the year “GAAP

EPS of negative $2.43 and industrial free cash flow of $4.5 billion” and GE’s backlog “stands at

$391 billion, up 5% year-on-year with equipment at $89 billion, up 4%; and service at $302 billion,

up 5%.” During the same call, Culp explained the root causes of GE Power’s poor performance,

which included goodwill impairment, originated from the Alstom acquisition and poor execution.

Specifically, Culp stated that “Power faces a number of nonoperational headwinds, and we expect

a high-water mark in this regard this year. These include legal settlements and legacy project

erosion, principally driven by the Alstom acquisition.” Further, Culp emphasized that in order to

fix GE Power:

       [W]e need to execute better. Running Power better means improved daily
       management in how we sell, make and service our products. Let me give you a few



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       examples. We had separate teams of managers commissioning new plants, owning
       the warranty period and overseeing the services contracts after the warranty. Now
       we present one face to the customer, who is accountable for the best long-term
       economic answer, both for the customer and GE. We put the sales organization
       under one leader with deep domain expertise and we are coordinating better on
       contract negotiations. We now have more experienced people owning negotiations
       and responsible for project cost. We performed risk assessments of our existing
       400 equipment contracts to identify cost and execution risks. We also performed a
       similar assessment on the 750 CSA contracts to identify price and utilization risk.
       We have overhauled our commercial underwriting processes to set more realistic
       commitments and returns from the start.

       123.    During this call, Charles Stephen Tusa of JP Morgan Chase & Co (“Tusa”) asked

Culp whether GE, including GE Capital, would generate cash in 2019. Culp responded that they

are “going to see pressures, both operational and nonrecurring” along with “nonrecurring events

or issues.” According to Culp, GE “got better line of sight today on some of these legacy issues

that come out of Alstom that [GE is] on the hook for.” Culp stated that “I think the headline is we

finished strongly. We know we got some operating and nonoperating pressures and think we work

through that in ‘19 with an eye toward a stronger cash flow performance in ‘20 and ‘21.”

       124.    Further, Andrew Alec Kaplowitz of Citigroup Inc. asked Culp regarding GE

Capital’s relatively small LTC adjustment, “do you feel reasonably confident that you’ve identified

all the skeletons in the closet, and the level of negative surprises are really going to start dropping

moving forward?” Culp responded to this question by stating “I don’t think I would ever say, even

on my last day here, that we have found all the skeletons.”

       125.    Also during this call, Senior VP and CFO Miller announced that GE had booked an

incremental $69 million charge for GE Power in addition to the $22 billion impairment charge.

Further, Miller announced that “Alstom and GE exercised their JV redemption rights and call

options, which we settled for $3.1 billion in the fourth quarter. These entities operate at a loss. So

the consolidation of 100% of the financials negatively impacted fourth quarter and will be an




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income headwind for us of about $300 million in 2019.” While discussing profits, Miller stated

that GE Power “lost $872 million in the fourth quarter.” Further, Miller revealed that GE Power

had incurred $350 million of costs related to Gas Power System projects, and had recorded $400

million of charges due to stage 1 blade issues with its High Efficiency, Air Cooled turbines (“H-

Class turbine”) – which was “something that [they] had expected would happen.” 11 According to

Miller “[t]hese items had a significant impact on Power’s results.”

       126.      Further during this call, after analyst Andrew Burris Obin of BofA Merrill Lynch

requested further details regarding the $400 million charge, Miller responded that GE Power’s

contracts are “high-margin, long term contracts. And when we do go through a renegotiation

process on some of these, we are often able to offset that price with scope expansion and cost

productivity.”

       127.      Also during the January 31st conference call, Miller stated that GE’s “credit rating

was downgraded from A to BBB+” and GE Capital “began the quarter with $70 billion of debt

and ended with $66 billion.” Miller stated GE would pay down this debt over two years with cash

from asset sales with GE Capital’s $25 billion asset reduction plan.

       128.      On February 26, 2019, GE filed its Annual Report on Form 10-K for the year ending

December 31, 2018 (the “2018 10-K”) with the SEC and made similar disclosures. Pursuant to

the 2018 10-K, GE’s “[c]onsolidated continuing earnings decreased $12.5 billion, due to increased

goodwill impairment charges of $21.0 billion, increased non-operating benefit costs of $0.4 billion


11
        Miller’s statements contradicted GE’s prior public statements concerning the blade defects.
On December 27, 2017, it became public that GE’s turbines had run into problems in Pakistan and
caused delays and lengthy outages. However, on January 24, 2018, during GE’s conference call
regarding its fourth quarter 2017 and full year results, GE Power’s CEO Russell Strokes
downplayed the defect in the H-Class turbines and represented that GE was “proud of HA gas
turbine technology” as “[i]t is operating in line with performance guarantees,” and issues at certain
sights were “readily addressed.”


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and decreased GE Industrial continuing earnings of $0.2 billion, partially offset by decreased

Financial Services losses of $6.3 billion and decreased provision for GE Industrial income taxes

of $2.7 billion.” Additionally, the 2018 10-K highlighted that “[f]inancial Services continuing

losses decreased $6.3 billion, or 93%, primarily due to the nonrecurrence of the 2017 charges

associated with the GE Capital insurance premium deficiency review and EFS strategic actions,

partially offset by the nonrecurrence of 2017 tax benefits.”

       129.    Further, the 2018 10-K disclosed that “[i]n the fourth quarter of 2018, GE

completed the funding of $3.1 billion for Alstom redemption rights related to certain consolidated

joint ventures.” As stated in the Form 10-K following the Alstom acquisition in 2015, GE was

“subject to legacy legal proceedings and legal compliance risks that relate to claimed anti-

competitive conduct or improper payments by Alstom in the pre-acquisition period, and payments

for settlements, judgments, penalties or other liabilities in connection with those matters will result

in cash outflows.”

       130.    In addition, when GE acquired Alsto’s power business for $10.6 billion, its book

value was negative $7.2 billion. GE represented the $17.8 billion disparity between Alstom’s book

value and GE’s purchase price to the market as “estimated GE-specific synergies.” 12 However,

according to the December 14, 2018 WSJ Article, the Alstom acquisition was known or should

have been known to result in significant good will charges. Specifically, the article posited:

       Alstom was in greater need of cash than the market understood, had too many
       employees and French law made it too difficult to lay off workers and sell assets.

                                                   ***

       A band of skeptics inside GE Power were hopeful the deal would collapse. When
       advisers determined that the concessions to get the deal approved might have grown

12
      Pursuant to the Company’s Form 10-Q filed with the SEC for the quarterly period ended
September 30, 2016.


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       costly enough to trigger a provision allowing GE to back out, some in the Power
       business quietly celebrated, confiding in one another that they assumed
       management would abandon the deal.

       But Immelt and his circle of closest advisers wanted it done. That included Steve
       Bolze, the man who ran it and hoped someday to run all of General Electric.

       131.    Further, GE’s 2018 10-K also disclosed:

       Based on the results of our annual impairment test, the fair values of each of our
       reporting units exceeded their carrying values except for the Power Generation and
       Grid Solutions reporting units, within our Power segment. The majority of the
       goodwill in our Power segment was recognized as a result of the Alstom
       acquisition, at which time approximately $15,800 million of goodwill was
       attributed to our Power Generation and Grid Solutions reporting units. As
       previously disclosed, the power market as well as its operating environment
       continues to be challenging. Our outlook for Power has continued to deteriorate
       driven by the significant overcapacity in the industry, lower market penetration,
       uncertain timing of deal closures due to deal financing, and the complexities of
       working in emerging markets. In addition, our near-term earnings outlook has been
       negatively impacted by project execution and our own underlying operational
       challenges.

       132.    The 2018 10-K also revealed the details of the blade issues with the H-Class

turbines as:

       During the third quarter of 2018, Gas Power Systems recorded a $0.2 billion pretax
       charge related to an oxidation issue within the HA and 9FB Stage 1 turbine blades,
       resulting in increased warranty and maintenance reserves. In addition, Power
       recognized pre-tax charges of approximately $0.4 billion associated with an
       increase in issues on our existing projects driven by execution as well as partner
       and customer challenges.

       133.    Further, pursuant to the 2018 10-K, during the fourth quarter of 2018, GE Power:

       [R]ecorded pre-tax charges of $0.8 billion, of which $0.4 billion was related to
       various assumption updates for unfavorable pricing, lower utilization, and cost
       updates on our long-term service agreements and $0.4 billion related to execution
       issues resulting in liquidated damages and partner execution issues on our longterm
       equipment projects at Gas Power Systems.

       134.    The 2018 10-K reports GE Power’s backlog as $91.9 billion, with revenues down

$7.6 billion (22%) and profit down $2.8 billion. Additionally, the 10-K stated that “[d]uring the




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fourth quarter of 2018, we finalized step two of the impairment analysis, and increased the

impairment charge by $69 million resulting in a final impairment charge of $22,042 million.” As

to the GE Capital segment LTC reserve deficiency, to cure the deficiency GE announced in the

2018 10-K that:

        During the fourth quarter of 2018, we completed our annual premium deficiency
        test. This review included updated experience studies based on additional data
        since the 2017 test, and considered updated external input based on industry trends
        and adjustments to assumptions as a result. Based on this analysis, using our most
        recent future policy benefit reserve assumptions, we identified a premium
        deficiency which resulted in a $82 million pre-tax charge to earnings in 2018.

        135.   On March 5, 2019, during GE’s JPMorgan Aviation, Transportation & Industrials

Conference, Culp acknowledged that issues arising from GE Capital and GE Power segments were

affecting consolidated results and the Company’s overall performance. Specifically, Culp stated

that:

        We saw a lot of growth in Renewables on the back of the PTC cycle. But that didn’t
        all fall through in the way we would have liked, more so because of the challenges
        we had in our Power business and, clearly, at capital, as we continue to make capital
        smaller and simpler. We have a number of issues to work through there, not the
        least of which is the insurance funding on the back of our long-term care run-off
        obligations.

        136.   During the March 5th conference, Tusa asked Culp about the H-Class turbine blade

defect and inquired “What is the specific fix that’s going on? And why are you so confident of the

Hframe, that the H-frame is not an issue going forward?” Culp responded to this issue by stating

that:

        Our H-frame gas turbine is our new leading-edge technology that was recently
        introduced. We have, I think, is it 30 -- I think we’ve got 33 units in the field
        currently. So it’s relatively new. We had an oxidation issue on one of the blades
        that created cracking after a certain amount of use. We thought we might have an
        issue over an extended life. It turned out we had the issue, we just didn’t realize it
        would happen—it would go into failure mode as early as it did. I think as we’ve
        gone through the field upgrades—we’ve upgraded, I think, 23 of the 33. We’ve got
        about 10 to go. We’re encouraged by what we’re seeing. We’re bringing back the
        blades that have been replaced. And again, those are the blades that are replaced,


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       not the ones that have broken, to do further root cause analysis on the coating. We
       feel pretty good about what we’re seeing in the laboratory. We’ve got 2,000 blades
       that have come in. But this will be continue to be a source of review and analysis.
       I think I probably take the most comfort, though, Steve, to your last question, from
       what I hear from our customers, right? Chris Crane, for example, the CEO of
       Exelon. Chris had 2 units go down on him. When I talked to Chris, Chris said, "I’m
       a proud owner of serial #1 and serial #2 of the H-frame. We knew that with leading-
       edge technology, this sometimes happens. You were upfront with us then that this
       could happen. You’ve been good to us in helping us understand what happened
       and how we fix it. So Steve, to me, this is all part of innovating and bringing new
       technology to work. So it’ll be a while before we can say that issue is resolved
       once and for all. But I think we’re trying to be as, again, we’re trying to embrace
       our reality. Wish it didn’t happen, fixing it, tending to the customers as best we
       can.

       137.    During the same conference, Culp projected that the downward trend in GE Power

would continue in 2019 as well, by stating “we mentioned this on the fourth quarter earnings

release, that lost a lot of money last year, to the tune of $2.7 billion. We’re going to continue to

see negative - - I should say, in terms of negative free cash, we’re going to see that continue in

2019.” Moreover, Culp stated that “we think we’ll see even a greater level of negative free cash

in Power in this year as we work through these issues.” Further, in order to stress the gravity of

the issues in GE Power, he stated “this is a multiyear turnaround in Power. I don’t want to

sugarcoat that in any way, shape or form. There’s a lot of work. It’s a game of inches.”

       138.    During the same conference, Tusa inquired whether “the GE Capital contribution

of $4 billion in 2019 [was] one and done?” Culp stated that GE Capital’s contribution of “$4

billion captures that parent support” and “we’ll see parent support depending on how things play

out at Capital as we shrink that balance sheet …. So it’s a hard number to forecast or give guidance

on. But is that the last dollar, that 4—fourth—or 4 billionth dollar this year, the last dollar parent

support going that way? No.” Culp also disclosed that GE’s industrial free cash flow would be

negative in 2019, upon a discussion of the headwinds from GE Capital and GE Power.

       139.    After the March 5, 2019 conference, GE shares closed down 4.7%, at $9.89.



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       140.    On March 7, 2019, during GE’s Insurance Teach-in Conference Call, GE’s

Managing Director Bob Deutsch acknowledged that the $82 million charge to GE Capital’s LTC

insurance business was relatively small and he stated that GE would continue to project an

incremental $9 billion of capital investment to be funded through 2024. He stated:

       We are also going to discuss the rigorous process and assumptions that we have
       built into our recently completed GAAP loss recognition testing, or LRT; and
       annual statutory cash flow testing, or CFT. As discussed on the fourth quarter
       earnings call, the LRT resulted in an $82 million pretax charge. While this net
       charge was relatively small, the LRT was driven by large changes in both the
       morbidity improvement and discount rate assumptions. The statutory testing
       results were the key driver of the $1.9 billion capital contribution made on February
       19, which was in line with previous guidance. We continue to project an
       incremental $9 billion of capital investment to be funded through 2024. We believe
       our stated reserves are appropriate today, based on our review of the risk in our
       portfolio and the expected future experience. As the business continues to evolve,
       we will reassess our reserves.

       141.    Analysts were skeptical about GE’s loss recognition testing considering the $10

billion difference between GE’s statutory and GAAP reserves. In particular, Ryan Joel Krueger

of Keefe, Bruyette, & Woods, Inc. asked Deutsch:

       You show—we can derive some of the differences looking at some of the
       sensitivities you provided. Looks like maybe there’s a couple of billion difference
       from morbidity improvement assumptions and several billion probably from the
       discount rate. But I was hoping you can maybe go through a little bit more of what
       is making up that $10 billion difference because that’s quite a bit of a larger
       difference than seems to exist within the rest of the industry.”

       142.    Deutsch agreed that the statutory and GAAP reserves were significantly different

but he refused to give details as to GE’s calculation as to this point and basically stated that there

was “a meaningfully large difference.” Deutsch also stated:

       The GAAP assumptions start with a certain set of baseline assumptions. The
       statutory assumptions are more conservative. In most cases, it’s that present value
       that ends up being that level of difference. Bear in mind the statutory numbers that
       we show include an adjustment for the $9 billion of additional actuarial reserves
       that we anticipate funding over the next 5 years.




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        143.   On March 14, 2019, during GE’s Outlook Conference Call, Culp repeated the root

causes for the delay in GE Power’s turnaround. Culp stated “there are number of nonoperational

headwinds or what we call inheritance taxes that we need to pay off, legacy obligations, some of

which are rooted in the Alstom acquisition and Power, it has been undermanaged over the last

couple of years.” Culp’s projection for 2019 concerning GE Power’s revenue was that it would

“be down high single digits versus last year.” Further, Culp stated that “[f]ree cash flow will be

down from a negative $2.7 billion in 2018 due to progress collections headwinds, increased project

costs and restructuring, which we will cover in more detail soon. While this is a multiyear journey,

2019 is a critical step.” Additionally, Culp stated that he expected continued pressure in 2019 and

2020.

        144.   On July 31, 2019, GE suddenly announced that Miller would be stepping down as

CFO, but would remain in the position until the Company could find a replacement.

     H. The Bombshell Markopolos Report

        145.   Miller’s sudden resignation as GE’s CFO was followed by serious accusations of

accounting fraud within the Company. On August 15, 2019, Harry Markopolos—a former

securities industry executive and a forensic accounting and financial fraud investigator—released

a report (the “Markopolos Report”)13 alleging that GE’s accounting fraud was “bigger than Enron

and WorldCom combined. In fact, GE’s $38 Billion in accounting fraud amounts to over 40% of

GE’s market capitalization, making it far more serious than either the Enron or WorldCom

accounting frauds.”

        146.   According to the Markopolos Report, Markolopos’s team “went out and located the


13
       Harry Markopolos, General Electric, A Bigger Fraud than Enron (Aug. 15, 2019),
available at https://fm.cnbc.com/applications/cnbc.com/resources/editorialfiles/2019/8/15/2019
_08_15_GE_Whistleblower_Report.pdf (last accessed Dec. 6, 2020).


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8 largest [LTC] insurance deals that GE is a counterparty to, accounting for approximately 95% or

more of GE’s exposure. Either these 8 insurance companies filed false statutory financial

statements with their regulators or GE’s financial statements are false.” Id. Further his team “paid

to use the National Association of Insurance Commissioners (NAIC) and AM Best Databases to

access these 8 insurers’ statutory financial statements filed with the relevant state insurance

commissions” and they revealed “GE was hiding massive loss ratios, the highest ever seen in the

LTC insurance industry, along with exponentially increasing dollar losses being absorbed by GE.”

        147.   The Markopolos Report explained that management’s positive cash flow in 2021

promise was not feasible because:

        The GE Capital insurance unit with the largest losses is ERAC and that unit’s
        average policy-holders’ age is now 75. The losses in this unit led to GE’s
        unexpected late 2017/early 2018 $15 Billion reserve hit. Unfortunately, the fast
        approaching 5-year age group between 76-80 will see a 77% increase in LTC claims
        filed which will see GE’s losses increase several-fold. We expect to soon see loss
        ratios of 750% to 1,000% or more on some of GE’s reinsurance agreements.
        According to industry data, approximately 86% of GE’s LTC claims are ahead of
        them and the accompanying losses are growing at an exponential and un-survivable
        rate.

        Of the $29 Billion in new LTC reserves that GE needs, $18.5 Billion requires cash
        immediately while the remaining $10.5 Billion is a non-cash GAAP charge which
        accounting rules require to be taken no later than 1QTR 2021. These impending
        losses will destroy GE’s balance sheet, debt ratios and likely also violate debt
        covenants. Unfortunately, GE has almost no cash, so they had to request special
        forbearance from the Kansas Insurance Department (KID) to be able to fund their
        January 2018 $15 Billion reserve increase over a 7-year time horizon, so the odds
        of them being able to fund $18.5 Billion in new cash reserves is doubtful.

        148.   Furthermore, the Markopolos Report asserted that GE Capital’s reserves were

known, or should have known, to be insufficient as early as 2012, yet management continued to

underfund GE Capital reserves and made dealings with the Kansas Insurance Department in order

to postpone the consequences of its ill-funded insurance reserves. In specific part, the Report

stated that:



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       GE should have taken a reserve hit as early as 2012, and certainly no later than
       2015, but they waited until new management came in and booked what little reserve
       they could afford in late 2017/early 2018, a $15 Billion commitment that they had
       to request a special exemption from the Kansas Insurance Department (KID) to
       spread over a 7-year period because, plainly put, GE isn’t liquid right now and
       likely won’t survive long enough to make their last few years of reserve payments
       anyway.

       149.     More disturbingly, the Markopolos Report stated that a former GE Capital

employee “left after growing concern that senior executives in the division were changing numbers

and their methodology without providing supporting evidence.” The Report alleged that, in

addition to the LTC claims that had already surfaced, GE was still “hiding $29 Billion in additional

LTC losses from investors.”

       150.     The Markopolos Report additionally revealed that “GE’s cash situation is far worse

than disclosed in their 2018 10-K, in fact once GE’s $9.1 Billion accounting fraud tied to its Baker-

Hughes GE (BHGE) acquisition is accounted for, GE only had $495 Million in cash flow from

operating activities in 2018 and it ended the year with MINUS $20 Billion in working capital.”

Put in another way, the Report alleges that “GE improperly Consolidated BGHE in its financial

statements to hide” its “$20 billion working capital deficit.”

       151.     The Report also explained that while the Company’s stock price was inflated,

during 2012-2018 “GE spent 3.5 times more on share buybacks that it earned.”

       152.     After the Markopolos Report was published, GE’s stock plunged, falling by 11%.

       153.     Significant media coverage and negative analyst comments followed. For example,

a Bloomberg article quoted Scott Davis, an analyst at Melius Research, who said that the

Markopolos Report “accurately depicts a GE culture that historically hid losses and deceived

investors.”14



14
       Katherine Chiglinsky, Rick Clough, and Jack Pitcher, GE Plunges Most in 11 Years as


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     I. Lawsuits Against the Defendants Ensued

        154.   Based on these fraudulent activities, numerous class actions and other lawsuits have

been filed against Defendants.

        155.   In 2017, class action lawsuits were filed in the United States District Court for the

Southern District of New York (previously defined as the “Securities Class Action”) against the

Company and certain of the Individual Defendants, namely Immelt, Bornstein, Miller, Sherin,

Hauser, and Laxer (collectively with the Company, the “Securities Class Action Defendants”). 15

The Securities Class Action alleges that for nearly four years—between February 27, 2013 and

January 23, 2018, inclusive—the Securities Action Defendants engaged in a fraudulent scheme

and course of conduct designed to hide the truth about the Company’s financial health and growth

prospects in violation of federal securities law.

        156.   On October 19, 2018, a class action was filed in New York Supreme Court (New

York County) against the Company, GE Capital International Holdings Limited, GE Capital

International Funding Company Unlimited Company, Immelt, Bornstein, Sherin, Laxer, Glavin,

and Green, alleging that on June 20, 2016, in connection with the sale of certain senior notes, the

defendants disseminated false and/or misleading statements in GE’s registration documents in


Madoff      Accuser      Slams      Accounting       (Aug.     15,     2019),       available      at
https://www.bloomberg.com/news/articles/2019-08-15/ge-drops-as-madoff-whistle-blower-
levels-accounting-accusations (last accessed Dec. 6, 2020) (analyst quoted as stating that the report
“accurately depicts a GE culture that historically hid losses and deceived investors”); see also
Jonnelle Marte, General Electric shares plunge after report alleges it’s a ‘bigger fraud than
Enron’              (Aug.              15,             2019),              available               at
https://www.washingtonpost.com/business/2019/08/15/general-electric-shares-fall-after-new-
report-alleges-bigger-fraud-than-enron/?noredirect=on (last accessed Dec. 6, 2020).
15
        Four lawsuits were consolidated into the Securities Class Action: AP-Fonden v. Gen. Elec.
Co., 1:17-cv-08457-JMF (S.D.N.Y.); Tampa Maritime Ass’n-Int’l Longshoremen’s Ass’n Pension
Plan v. Gen. Elec. Co., 1:17-cv-09888-JMF (S.D.N.Y.); Mirani v. Gen. Elec. Co., 1:17-cv-08473-
JMF (S.D.N.Y.); and Cleveland Bakers & Teamsters Pension Fund v. Gen. Elec. Co., 1:18-cv-
01404-JMF (S.D.N.Y.).


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violation of Sections 11, 12(a)2, and 15 of the Securities Act. 16

       157.    On February 1, 2019 and February 8, 2019, additional class actions were filed in

the United States District Court for the Southern District of New York against the Company and

various Company executives, alleging false and misleading statements about GE Power in

violation of Sections 10(b) and 20(a) of the Securities Act.17

       158.    On February 27, 2019, another lawsuit was filed in federal court after several

shareholders opted-out from the Securities Class Action, bringing their individual claims against

the Company, Immelt, Bornstein, Miller, and Sherin, alleging that defendants disseminated

materially misleading false statements and omissions concerning GE’s overall business prospects,

including GE’s insurance liabilities and contractual obligations, GE’s LTC liabilities and insurance

reserves and exposure, GE Power’s contract assets and reported revenue, and GE’s Alstom

acquisition, constituting common law fraud and violating Sections 10(b), 20(a) and Rule 10b-5 of

the Securities Act and Section 1707.43 of the Ohio Securities Act. 18

       159.    On August 29, 2019, the Securities Class Action court denied the defendants’

motion to dismiss as to “(1) Plaintiffs’ Section 10(b) and Rule 10b-5 claims concerning (a)

factoring in GE’s 2016 Form 10-K and (b) GE’s failure to disclose factoring in its Relevant Period


16
       Houston Mun. Employees Pension Sys. v. Gen. Elec. Co., et al., Index No. 655229/2018
(N.Y. Sup. Ct.) (the “New York State Class Action”).
17
       The class actions include Birnbaum v. Gen. Elec. Co., et al., Case No. 1:19-cv-01013
(S.D.N.Y.) and Sheet Metal Workers Local 17 Trust Funds v. Gen. Elec. Co., et al., Case No. 1:19-
cv-01244 (S.D.N.Y.). On April 25, 2019, these two actions were consolidated and styled In re
Gen. Elec. Sec. Litig., Case No. 1:19-cv-1013 (DLC) (S.D.N.Y.) (the “2019 Securities Class
Action”). The 2019 Securities Class Action was dismissed on May 7, 2020. An appeal of that
dismissal is currently pending in the Second Circuit, sub nom. Birnbaum v. Gen. Elec. Co. (No.
20-1741).
18
        Touchstone Strategic Trust, et al., v. Gen. Elec. Co., et al., Case No. 1:19-cv-1876
(S.D.N.Y.) (the “Touchstone Action”). This action has been stayed pending developments in the
Securities Class Action.


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financial statements, which survive against GE and Bornstein; and (2) for now, Plaintiffs’ Section

20(a) claims against each Individual Defendant.” AP-Fonden v. GE, 417 F. Supp. 3d 379

(S.D.N.Y. 2019).

       160.    In rejecting the Securities Class Action Defendants’ arguments and denying their

motion to dismiss as to these claims, the court found that plaintiffs “hit the mark” by alleging that

“GE failed to disclose that GE Power generated [cash] by ‘monetizing’ receivables through

extensive factoring of LTSAs.” AP-Fonden, 417 F. Supp. 3d at 408-09. Particularly, the court

pointed out that the Securities Class Action Complaint “details, through allegations by former

employees with firsthand knowledge among other things, that GE was factoring ‘everything’ in its

Power and Renewable Divisions, including as many LTSAs as it could.” Id.

       161.    Further, the court emphasized GE’s management involvement and knowledge by

pointing out “[f]actoring was a ‘global ... effort’ directed by GE Power management in conjunction

with GE Capital (which bought some of the receivable streams from the LTSAs), and which was

reported in ‘weekly, monthly, and quarterly reports’ that were integrated into presentations for GE

Power’s global leadership,” and “Bornstein, then GE’s CFO, acknowledged in a June 2017

meeting that GE was ‘in too deep’ to stop factoring; at other times Bornstein discussed factoring

in detail during earnings calls.” AP-Fonden, 417 F. Supp. 3d at 409.

       162.    When considering the allegations that “the existing number of LTSAs available to

monetize was finite,” and “due to slackening demand for new turbines (and thus new LTSAs), GE

would not be able to continue factoring receivables indefinitely,” the Securities Class Action court

concluded that these “allegations, taken together, are more than sufficient to show that factoring

was a trend or event that was ‘reasonably likely to result’ in a change in GE’s liquidity or that GE

‘reasonably expect[ed]’ to have ‘a material ... impact on net sales or revenues or income from




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continuing operations.’” AP-Fonden, 417 F. Supp. 3d at 409. The Securities Class Action court

explained that, because “factoring trades away future revenue for immediate cash, it stands to

reason that GE’s comprehensive factoring of LTSA receivables would have a material impact on

future revenue.” Id. Accordingly, the Securities Class Action court found a “strong inference” that

“GE and at least some of the Individual Defendants were at least consciously reckless regarding

whether their failure to provide adequate Item 303 disclosures ... would mislead investors about

material facts.” Id.

       163.    More disturbingly, the court pointed out that the Securities Class Action Complaint

“shows also that Bornstein (who signed GE’s financial statements) both knew of the practice and

acknowledged that GE was in ‘deep’ with regard to factoring” and it “plausibly allege that

Bornstein and GE (through Bornstein and other executives whose knowledge or intent may be

imputed to it … knew facts … suggesting that GE’s financial disclosures would be misleading

without disclosure of its widespread use of factoring … amounting to at least a reckless disregard

of a known or obvious duty to disclose.” AP-Fonden, 417 F. Supp. 3d at 409.

       164.    Additionally, with respect to the other public statements about factoring, the

Securities Class Action court found that plaintiffs “adequately pled that the statements were

misleading and were made with the requisite state of mind.” AP-Fonden, 417 F. Supp. 3d at 410.

Similarly, the court found plaintiffs’ allegations that “management at GE Power and GE Capital

directed the efforts to factor LTSA receivables to increase short-term liquidity and that senior

members of GE’s management, including Bornstein … were aware of the practice before and

around the same time as the Form 10-K was issued” was meritorious because “Bornstein is alleged

to have ‘acknowledged GE’s reliance’ on factoring and commented that GE was ‘in ... deep’ with

respect to factoring in a meeting just a few months after the 2016 Form 10-K was issued.” Id. at




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413-14. Accordingly, the Securities Class Action court concluded that “GE ‘knew facts or had

access to information’ showing that its 2016 Form 10-K was misleading in this respect.” Id. at 414.

        165.    The Securities Class Action court granted plaintiffs leave to amend to “allege

additional facts regarding the Individual Defendants’ knowledge, or conscious disregard of, GE’s

actuarial issues (with respect to its LTC portfolio) and the trends and risks it should have disclosed

(with respect to its LTSAs) that would permit Plaintiffs to clear the scienter bar.” AP-Fonden, 417

F. Supp. 3d at 415.      On October 25, 2019, Plaintiffs filed a Fifth Amended Consolidated

Complaint. A motion to dismiss that complaint is currently pending.

     J. The Litigation Demand and the Board’s Wrongful Refusal Thereof

        166.    On November 14, 2018, pursuant to New York Business Corporation Law § 626(c),

Plaintiffs, through their counsel, Melinda A. Nicholson, made the Litigation Demand on the Board

to, inter alia, conduct “a completely independent internal investigation into,” and pursue through

litigation, the claims asserted in this action, “take appropriate disciplinary action . . . of the persons

responsible for perpetration of the wrongdoing,” and “undertake a comprehensive review and

overhaul of the Company’s corporate governance an compliance practices and systems of internal

controls and reporting.” Plaintiffs also demanded that the Company immediately enter into a

tolling agreement with each of the Individual Defendants, in order to allow the Board sufficient

time to accomplish these tasks. A copy of the Litigation Demand is attached hereto as Exhibit 2.

        167.    On November 30, 2018, counsel for the Company, Greg A. Danilow of Cravath,

Swain & Moore, responded that he was able to confirm Plaintiffs’ ownership of GE shares (as of

record), and that the Litigation Demand would be presented to the Board at its next regularly

scheduled meeting (on November 30, 2018).19 Mr. Danilow notably did not respond to Plaintiffs’



19
        Mr. Danilow also asked Ms. Nicholson to confirm that Ms. Burden – with whom Mr.


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request for tolling agreements, nor did he confirm that the Board had undertaken an independent

investigation into the Litigation Demand. A copy of Mr. Danilow’s November 30, 2018 letter is

attached hereto as Exhibit 3.

       168.    Accordingly, on December 6, 2018, Ms. Nicholson responded to the November 30

letter, asking that counsel promptly confirm that the Company had commenced an independent

internal investigation into the matters set forth in the Litigation Demand and that it had received

executed tolling agreements from the Individual Defendants.         A copy of Ms. Nicholson’s

December 6, 2018 letter is attached hereto as Exhibit 4.

       169.    Despite the fact that Mr. Danilow had already confirmed Plaintiffs’ ownership of

record of GE shares, on December 20, 2018, counsel for the Special Committee, Rachel G.

Skaistis, also with Cravath, Swain & Moore, requested proof of Plaintiffs’ ownership of GE shares

and invited Plaintiffs to provide the Board with any additional information not contained in the

Litigation Demand concerning any breach of fiduciary duty or improper conduct by the Individual

Defendants. A copy of Ms. Skaistis’ December 20, 2018 letter is attached hereto as Exhibit 5.

       170.    As requested, on January 10, 2019, Ms. Nicholson provided copies to Ms. Skaistis

of Plaintiffs’ trade records – showing both ownership of record and beneficial ownership – on

January 10, 2019. Ms. Nicholson counsel also provided further information pertinent to the

Litigation Demand, including the December 14, 2018 Wall Street Journal article detailing alleged

wrongdoing in the Company’s GE Capital and GE Power segments, as well as details evidencing

the Company’s culture that fostered a lack of oversight by the Board Members. Ms. Nicholson

also requested information about the composition of the Special Committee and again requested




Burden owned GE stock of record in joint tenancy – joined in the Demand. Ms. Nicholson
confirmed that in her December 6, 2018 response.


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confirmation that GE had received executed tolling agreements from the Individual Defendants.

A copy of Ms. Nicholson’s January 10, 2019 letter is attached hereto as Exhibit 6.

       171.    On April 18, 2019, having not received a response to the January 10 letter, Ms.

Nicholson sent another letter to Ms. Skaistis following up the requests made with January 10th

letter and updating the Board and the Special Committee concerning recently revealed events and

circumstances, including additional allegations from GE’s securities filings since the previous

letter, the filing of the New York State Class Action, the 2019 Securities Class Action, and the

Touchstone Action, as well as the filing of the Consolidated Amended Class Action Complaint in

the New York State Class Action. Ms. Nicholson repeated her request for information about the

composition of the Special Committee and for confirmation that GE had received the executed

tolling agreements. A copy of Ms. Nicholson’s April 18, 2019 letter is attached hereto as Exhibit

7.

       172.    Ms. Skaistis finally responded on May 31, 2019, providing the make-up of the

Special Committee. The Special Committee as originally constituted consisted of Defendants

Lavizzo-Mourey, Seidman, and Horton. Reynolds, who was elected to the Board in December

2018, replaced Horton as the third member of the Special Committee “in light of Mr. Horton’s

other responsibilities on the GE Board.” Ms. Skaistis informed Ms. Nichsolson that the Special

Committee was still investigating the allegations in the Litigation Demand and rejected Plaintiffs’

request for tolling agreements. A copy of Ms. Skaistis’ May 31, 2019 letter is attached hereto as

Exhibit 8.

       173.    Thereafter, on August 26, 2019, Ms. Nicholson provided additional updates to the

Board and Special Committee concerning the events and circumstances laid out in the Litigation

Demand and information concerning further negative events at the Company that necessitated the




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Special Committee’s attention, including the Markopolos Report and the filing of the Amended

Complaint in the 2019 Securities Class Action. Ms. Nicholson also sent draft proposed corporate

governance reforms “designed to strengthen the Board’s oversight of the Company’s operations,

compliance, enterprise risks, and disclosures and assist the Special Committee’s consideration of

the Stockholders’ request in the Litigation Demand. . . .”       Among other things, the letter

specifically proposed amending the Company’s corporate governance to require reporting to the

Board regarding GE’s business segments, the creation of a disclosure committee, the hiring of a

chief compliance officer, and strengthening the Company’s ability to clawback and/or recoup

compensation paid to wayward fiduciaries. A copy of Ms. Nicholson’s August 26, 2019 letter is

attached hereto as Exhibit 9.

       174.      On October 9, 2019, Ms. Nicholson wrote to Ms. Skaistis, to follow-up on the

August 26 letter, to which Ms. Nicholson had received no response. Ms. Nicholson attached to

her October 9 letter a copy of the Securities Class Action Court’s opinion and order denying

defendants’ motion to dismiss, as well as the Second Amended Complaint that had been filed in

the 2019 Securities Class Action. A copy of Ms. Nicholson’s October 9, 2019 letter is attached

hereto as Exhibit 10.

       175.      On November 15, 2019 – nearly one year after the Litigation Demand was first sent

to the Company, and having not received a response to her October 9 or August 26, 2019 letters –

Ms. Nicholson wrote to Ms. Skaistis and provided additional updates, including the New York

State Class Action court’s denial of defendants’ (except KPMG) motion to dismiss on standing

grounds and, the filing of the Fifth Amended Consolidated Class Action Complaint in the

Securities Class Action. A copy of Ms. Nicholson’s November 15, 2019 letter is attached hereto

as Exhibit 11.




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       176.    Ms. Skaistis responded on November 15, 2019, stating that the Special Committee

was still in the process of investigating and that she anticipated it would “take several more months

for the Committee to complete its work.” A copy of Ms. Skaistis’ November 15, 2019 letter is

attached hereto as Exhibit 12.

       177.    Nearly a year later, having received no further response from the Company, the

Board, the Special Committee, or its counsel regarding the Special Committee’s investigation, Ms.

Nicholson wrote to Ms. Skaistis on November 5, 2020 to follow-up on the investigation and

provide an additional update, including regarding the Company’s receipt of the Wells Notice from

the SEC. The letter also reasserted Plaintiffs’ proposed corporate governance reforms, advising

that these reforms would “provide a useful framework for appropriate action to remedy the serious

harm caused to the Company and prevent a reoccurrence of such harm in the future.” A copy of

Ms. Nicholson’s November 15, 2020 letter is attached hereto as Exhibit 13.

       178.    Ms. Skaistis responded on November 17, 2020, stating – again – that the Special

Committee was still investigating the issues raised in the Litigation Demand and that it “anticipates

being in a position to report its final recommendations to the full Board by the end of this year.”

A copy of Ms. Skaistis’ November 17, 2020 letter is attached hereto as Exhibit 14.

       179.    On December 10, 2020, Ms. Nicholson wrote to Ms. Skaistis and provided an

update regarding the SEC Order and the Company’s agreement to pay $200 million to the SEC to

settle the claims raised therein. A copy of Ms. Nicholson’s December 10, 2020 letter, which

includes the SEC Order, is attached hereto as Exhibit 15.

       180.    On December 31, 2020, after nearly two years and countless updates from Plaintiffs

regarding the additional evidence of and ongoing damage to GE caused by the Individual

Defendants’ wrongdoing – including an astounding $200 million payment to the SEC and the SEC




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Order – the Demand Defendants finally responded to the Litigation Demand. A copy of the

December 31, 2020 response is attached hereto as Exhibit 16.

       181.    The Demand Defendants’ response advised that on December 8, 2017, the Board

delegated to the Audit Committee responsibility for investigating the allegations raised in the

Litigation Demand, which at that time was comprised of Defendants Schapiro, Beattie, Henry,

Mulva, and Rohr. Subsequently, Defendants Schapiro, Henry, and Rohr left the Audit Committee

and were replaced by Defendants Brennan and Seidman. On November 9, 2018, the Board decided

to delegate such investigation to a Special Committee comprised of Defendants Lavizzo-Mourey,

Hortron, and Seidman. Defendant Horton was later replaced on the Special Committee by

Defendant Reynolds.

       182.    Incredibly, the Demand Defendants’ response indicated that they were refusing to

undertake any of the actions detailed in the Litigation Demand purportedly because “the Company

has no sound legal basis” to assert such claims and that, “even if there were a sound legal basis to

assert claims, any such litigation would not be in the best interest of the Company and its

stockholders.” Further, the Demand Defendants rejected “the other demands for action by the

Company, including seeking clawback and instituting corporate governance and compliance

reforms.” In fact, the only actions the Demand Defendants committed to do in response to the

serious wrongdoing alleged in the Litigation Demand and significant damage the Company had

sustained as a result thereof were woefully deficient; the Demand Defendants stated that they

would only have management merely “consider and report back to the Board by June 18, 2021”

on potential enhancements to the Company’s clawback policy and the use of diagnostics to

measure the Company’s culture “in light of recent trends in corporate governance best practices.”

       183.    The Demand Defendants’ delayed and perfunctory response is impossible to




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reconcile with the fact that the Securities Class Action court has already found such allegations

sufficiently plausible to pass muster under heightened pleading requirements and, just weeks

before, the Company paid $200 million to settle similar claims brought by the SEC. The only

possible conclusion is that the Demand Defendants acted in bad faith and in breach of their

fiduciary duties in purporting to investigate and consider the Litigation Demand, while in fact

intending to reject the Litigation Demand from the outset.

        184.    Because the Demand Defendants have wrongfully refused the Litigation Demand,

Plaintiffs now commence this derivative action in order to protect the Company, rectify the wrongs

detailed herein, and hold the wrongdoers accountable for the damages they caused GE.

         SPECIFIC FIDUCIARY DUTIES OF THE INDIVIDUAL DEFENDANTS

        185.    The Individual Defendants had stringent fiduciary obligations to GE and its

shareholders.

        186.    By reason of their positions as officers and/or directors of GE and because of their

ability to control its business and corporate affairs, the Individual Defendants owed and owe the

Company and its shareholders fiduciary obligations of loyalty, good faith, due care, disclosure,

candor, and oversight, and were and are required to use their utmost ability to control and manage

GE in a fair, just, honest, and equitable manner. The Individual Defendants were and are required

to act in furtherance of the best interests of GE and its shareholders so as to benefit all shareholders

equally and not in furtherance of their own personal interests or benefits.

        187.    In addition, as officers and/or directors of a publicly held company, the Individual

Defendants had a duty to promptly disseminate accurate and truthful information with regard to

the Company’s financial condition.

        188.    The Individual Defendants, because of their positions of control and authority as




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directors and/or officers of GE, were able to, and did, directly and/or indirectly, exercise control

over the wrongful acts complained of herein, as well as the contents of the various public

statements issued by the Company.        Because of their advisory, executive, managerial, and

directorial positions with GE, each of the Individual Defendants had access to adverse, non-public

information about the financial condition, operations, and improper representations of GE.

       189.    Further, each of the Individual Defendants was and is bound by GE’s Code of

Conduct (the “Code”), which states that “GE holds its leaders accountable for creating a culture of

compliance” and further underscores in pertinent part:

       In every market in which GE operates, GE must comply with an ever-expanding
       array of laws and regulations that are often being enforced more aggressively than
       ever before. In some cases, laws made by one country seek to regulate activities
       that take place outside of that country. This environment demands that every
       employee and leader be committed to regulatory excellence.

       190.    The Demand Defendants also had and have a duty to conduct a good faith,

reasonable, and objective investigation into the allegations in the Litigation Demand.

        CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION

       191.    In committing the wrongful acts alleged herein, the Individual Defendants have

pursued, or joined in the pursuit of, a common course of conduct, and have acted in concert with

and conspired with one another in furtherance of their common plan or design. In addition to the

wrongful conduct herein alleged as giving rise to primary liability, the Individual Defendants

further aided and abetted and/or assisted each other in breaching their respective duties.

       192.    During all times relevant thereto, the Individual Defendants, collectively and

individually, initiated a course of conduct that was designed to mislead the investing public,

including shareholders of GE, regarding the Company’s financial health and growth prospects. In

furtherance of this plan, the Individual Defendants, collectively and individually, took the actions




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set forth herein.

        193.    The purpose and effect of the Individual Defendants’ course of conduct was, among

other things, to disguise the Individual Defendants’ violations of law, breaches of fiduciary duty,

and unjust enrichment, and to conceal adverse information concerning the Company’s operations,

financial condition, and investment risk profile.

        194.    Each of the Individual Defendants aided and abetted and rendered substantial

assistance in the wrongs complained of herein. In taking such actions to substantially assist the

commission of the wrongdoing complained of herein, each Individual Defendant acted with

knowledge of the primary wrongdoing, substantially assisted in the accomplishment of the

wrongdoing, and was aware of his or her overall contribution to and furtherance of the wrongdoing.

                          DERIVATIVE AND DEMAND ALLEGATIONS

        195.    Plaintiffs bring this action derivatively for the benefit of GE to redress injuries

suffered, and to be suffered, by the Company as a direct result of breaches of fiduciary duty and

unjust enrichment, as well as the aiding and betting thereof, by the Individual Defendants.

        196.    GE is named as a nominal defendant in this case solely in a derivative capacity.

This is not a collusive action to confer jurisdiction on this Court that it would not otherwise have.

        197.    Plaintiffs will adequately and fairly represent the interests of GE in enforcing and

prosecuting its rights.

        198.    Plaintiffs are shareholders of GE and have continuously owned stock in the

Company since at least June 1, 1983.

        199.    On November 14, 2018, Plaintiffs made the Litigation Demand on the Board to

independently investigate the foregoing facts and claims arising from them, and to commence

litigation against the corporate fiduciaries responsible for damaging GE.




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       200.    Upon receiving the Litigation Demand, the Board had an affirmative duty under

New York law to conduct a good faith, reasonable, and objective investigation into the allegations

in the Demand and to reach a good faith, reasonable, and objective conclusion regarding the

potential claims detailed in the Litigation Demand.

       201.    However, after over two years of stringing Plaintiffs along, the Demand Defendants

finally responded on December 31, 2020 that they were refusing to undertake any of the actions

detailed in the Litigation Demand purportedly because “the Company has no sound legal basis” to

assert such claims and that, “even if there were a sound legal basis to assert claims, any such

litigation would not be in the best interest of the Company and its stockholders.”

       202.    The Demand Defendants’ perfunctory response did not address (and is impossible

to reconcile with) the fact that the Securities Class Action court has already found such allegations

sufficiently plausible to pass muster under heightened pleading requirements and, just weeks

before, the Company paid $200 million to settle similar claims brought by the SEC. The only

possible conclusion is that the Demand Defendants acted in bad faith and in breach of their

fiduciary duties in purporting to investigate and consider the Litigation Demand, while in fact

intending to reject the Litigation Demand from the outset.

       203.    Because the Demand Defendants have wrongfully refused the Litigation Demand,

Plaintiffs now commence this derivative action in order to protect the Company, rectify the wrongs

detailed herein, and hold the wrongdoers accountable for the damages they caused GE.

       204.    Prosecution of this action, independent of the current Board, is in the best interest

of the Company.

       205.    The wrongful acts complained of herein subject, and will continue to subject, GE

to continuing harm because the adverse consequences of the actions are still in effect and ongoing.




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                                             COUNT I
                               BREACH OF FIDUCIARY DUTY
                               (Against all Individual Defendants)

       206.    Plaintiffs incorporate by reference and reallege each and every allegation contained

above, as though fully set forth therein.

       207.    Each of the Individual Defendants owed and owe GE fiduciary duties. By reason

of their fiduciary relationships, the Individual Defendants owed and owe GE the highest

obligations of good faith, fair dealing, loyalty, and due care.

       208.    In addition, as part of their duty to exercise good faith and diligence in the

administration of the affairs of the Company, the Individual Defendants had and have a duty to

promptly disseminate accurate and truthful information with regard to the Company’s revenue,

margins, operations, performance, management, projections, and forecasts, as well as other

material facts bearing upon its operations and financial condition.

       209.    Each of the Individual Defendants violated and breached their fiduciary duties.

More specifically, the Individual Defendants knowingly, recklessly, or with gross negligence: (i)

caused or permitted GE to hide the truth about the Company’s true financial and operating

condition, by causing the Company to omit the truth about GE Capital’s LTC exposure, and by

causing the Company to create an illusory revenue recognition scheme in order to meet its earnings

targets; (ii) caused or permitted GE to maintain inadequate risk exposure, financial controls, and

internal controls over its public disclosures; and (iii) caused the price of GE’s securities to be

artificially inflated, thereby subjecting GE to massive liability to the purchasers of such securities

and to possible civil and/or criminal liability stemming from investigations by the SEC and DOJ.

       210.    As a direct and proximate result of the Individual Defendants’ breaches of their

fiduciary duties, GE has sustained substantial damages, including direct monetary damages and




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damages to its reputation and goodwill in the capital markets. As a result of the misconduct alleged

herein, the Individual defendants are liable to the Company.

       211.    Plaintiffs, on behalf of GE, have no adequate remedy at law.

                                         COUNT II
                             WASTE OF CORPORATE ASSETS
                          (Against the Waste Defendants Defendants)

       212.    Plaintiffs incorporate by reference and reallege each and every allegation contained

above, as though fully set forth therein.

       213.    As a result of the Waste Defendants’ conduct, by failing to properly consider the

interests of the Company and its public shareholders and by failing to conduct proper supervision,

the Waste Defendants have cause GE to waste valuable corporate assets by paying compensation

and/or bonuses to certain of its executive officers and incur potentially billions of dollars of legal

liability and/or legal costs to defend the Individual Defendants’ actions.

       214.    Because of the waste of corporate assets, the Waste Defendants are liable to the

Company.

       215.    Plaintiffs, on behalf of GE, have no adequate remedy at law.

                                       COUNT III
                    UNJUST ENRICHMENT/CONSTRUCTIVE TRUST
                       (Against the Unjust Enrichment Defendants)

       216.    Plaintiffs incorporate by reference and reallege each and every allegation contained

above, as though fully set forth therein.

       217.    The Unjust Enrichment Defendants were unjustly enriched as a result of the

compensation they received while breaching their fiduciary duties owed to GE, and/or have aided

and abetted such unjust enrichment.

       218.    The Unjust Enrichment Defendants should be required to account for and disgorge




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all realized monies, profits, commissions, bonuses, and gains (including directors’ fees and related

compensation for attending meetings and rendering other services) which they have obtained and

will unjustly obtain at the expense of GE, and a constructive trust should be imposed thereon for

the benefit of the Company.

       219.    Plaintiffs, as shareholders and representatives of GE, seek restitution from

Defendants and seek an order from this Court disgorging all profits, benefits, and other

compensation obtained by the Individual Defendants from their wrongful conduct and fiduciary

breaches.

       220.    Plaintiffs, on behalf of GE, have no adequate remedy at law.

                                          COUNT IV
                               BREACH OF FIDUCIARY DUTY
                               (Against the Demand Defendants)

       221.    Plaintiffs incorporate by reference and reallege each and every allegation contained

above, as though fully set forth therein.

       222.    On November 14, 2018, Plaintiffs served the Litigation Demand on the Board,

which asked the Board to independently investigate the foregoing facts and claims arising from

them, and to commence litigation against the corporate fiduciaries responsible for damaging GE.

       223.    Upon receiving the Litigation Demand, the Demand Defendants had an affirmative

duty under New York law to conduct a good faith, reasonable, and objective investigation into the

allegations in the Demand and to reach a good faith, reasonable, and objective conclusion

regarding the potential claims detailed in the Litigation Demand.

       224.    However, after two years of stringing Plaintiffs along, the Demand Defendants

finally responded on December 31, 2020 that they were refusing to undertake any of the actions

detailed in the Litigation Demand purportedly because “the Company has no sound legal basis” to




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assert such claims and that, “even if there were a sound legal basis to assert claims, any such

litigation would not be in the best interest of the Company and its stockholders.”

       225.    The Demand Defendants’ perfunctory response did not address (and is impossible

to reconcile with) the fact that the Securities Class Action court has already found such allegations

sufficiently plausible to pass muster under heightened pleading requirements and, just weeks

before, the Company paid $200 million to settle similar claims brought by the SEC. The only

possible conclusion is that the Demand Defendants acted in bad faith and in breach of their

fiduciary duties in purporting to investigate and consider the Litigation Demand, while in fact

intending to reject the Litigation Demand from the outset.

       226.    As such, the Litigation Demand has been wrongfully refused, and the Demand

Defendants have breached their fiduciary duties.

                                 COUNT V
  VIOLATION OF SECTION 14(A) OF THE SECURITIES EXCHANGE ACT OF 1934
             AND RULE 14A-9 PROMULGATED THEREUNDER
                   (Against the Exchange Act Defendants)

       227.    Plaintiffs incorporate by reference and reallege each and every allegation contained

above, as though fully set forth therein.

       228.    This claim is brought derivatively on GE’s behalf for the Exchange Act

Defendants’ violations of Section 14(a) of the Exchange Act and Rule14a-9 promulgated

thereunder.

       229.    Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a)(1), provides that “[i]t shall

be unlawful for any person, by use of the mails or by any means or instrumentality of interstate

commerce or of any facility of a national securities exchange or otherwise, in contravention of

such rules and regulations as the [SEC] may prescribe as necessary or appropriate in the public

interest or for the protection of investors, to solicit or to permit the use of his name to solicit any



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proxy or consent or authorization in respect of any security (other than an exempted security)

registered pursuant to section 12 of this title [15 U.S.C. § 78l].”

       230.    Rule 14a-9, promulgated pursuant to § 14(a) of the Exchange Act, provides that no

proxy statement shall contain “any statement which, at the time and in the light of the

circumstances under which it is made, is false or misleading with respect to any material fact, or

which omits to state any material fact necessary in order to make the statements therein not false

or misleading.” 17 C.F.R. §240.14a-9.

       231.    The 2017 Proxy Statement stated that the Board’s role was “overseeing risk

management and understanding the most significant risks facing the company” and touted that

GE had “added directors with experience in risk management and oversight.” The 2017 Proxy

Statement further represented that “GE uses a broad set of financial metrics to measure its

performance, and accurate financial reporting and robust auditing are critical to our success.”

       232.    These statements were false and misleading and omitted material information

because the Board had in fact consciously disregarded its oversight responsibilities with respect to

the accuracy of GE’s financial reporting and the significant risks posed by the Company’s

crumbling LTC insurance policies in its GE Capital division and illusory revenue recognition

scheme in its GE Power business.

       233.    In the exercise of reasonable case, the Exchange Act Defendants should have

known that the 2017 Proxy Statement contained misleading information and/or omitted material

information.

       234.    The misrepresentations and omissions in the 2017 Proxy Statement were material

to Company shareholders in voting on the 2017 Proxy Statement.

       235.    The Company was damaged as a result of the Exchange Act Defendants’ material




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misrepresentations and omissions in the 2017 Proxy Statement.

       236.   Plaintiffs, on behalf of GE, have no adequate remedy at law.

                                   PRAYER FOR RELIEF

   WHEREFORE, Plaintiffs, on behalf of GE, demand judgment as follows:

       A. declaring that each of the Individual Defendants breached his or her fiduciary and other

          duties owed to GE and its shareholders as alleged herein;

       B. directing the Individual Defendants, jointly and severally, to account for all loses and

          damages sustained by GE caused by reason of the acts and omissions complained of

          herein;

       C. awarding GE money damages against all Individual Defendants for all losses and

          damages sustained and to be sustained by the Company and its shareholders as a result

          of the acts and omissions complained of herein;

       D. directing the Individual Defendants to account for and to remit and disgorge to GE all

          profits and other benefits and unjust enrichment they have obtained and retained as a

          result of the acts and omissions complained of herein, including all salaries, bonuses,

          fees, stock awards, options, compensation, and GE common stock sale proceeds

          together with the earnings upon such amounts by which such Defendants were unjustly

          enriched and imposing a constructive trust thereon as well as the earnings such

          Defendants have received thereupon;

       E. ordering the Company to take all necessary actions to reform and improve its corporate

          governance, risk management, compliance, and internal control procedures for the

          purpose not only of preventing a recurrence of the failures detailed above, but to

          optimize such procedures in light of relevant and current best practices;




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       F. awarding GE pre-judgment and post-judgment interest as allowed by law;

       G. awarding GE punitive damages;

       H. awarding Plaintiffs’ attorneys’ fees, expert fees, consultant fees and other costs and

          expenses; and

       I. granting such other and further relief as the Court may deem just and proper.

                                        JURY DEMAND

       Plaintiffs demand a trial by jury.

Dated: January 8, 2021                       Respectfully submitted,

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